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                                   1 | CD-14 ENTERPRISE
                                             A. Background
          1. General
                                                                       Partial         Opp’n MIL          MIL No. 2 -
    1     Photographs of Relevant Persons                    Civetti   obj. MIL        No. 2              DENIED
                                                                       No. 2
    2     CHAN Resume (01/26/2018)                           Civetti
          LA City Council Districts Map
    3                                                        Civetti
          (07/26/2013)
          Map of DTLA with Projects [Demonstrative
    4                                                        Civetti
          Only]
    5     City of Los Angeles Code of Ethics                 Civetti
          Los Angeles City Ethics Commission –
    6                                                        Civetti
          Revolving Door Brochure
          11/16/2016 Email CHAN, Fabiola Vilchez
   6A                                                        Civetti
          re: City Ethics
    7     LADBS – “A Few Facts About Us”                     Civetti
    8     Intentionally omitted
          Campaign Finance Ordinance – Los Angeles
    9                                                        Civetti
          Municipal Code §§ 49.7.1 et seq.
          Stipulation No. 1: City of Los Angeles
   10A    Receipt of Federal Benefits in Excess of
          $10,000
          Stipulation No. 2: Interstate Wires for
   10B    Counts Two, Three, Four, Twelve,
          Thirteen, Fourteen & Fifteen
          Stipulation No. 3: East West Bank,
   10C
          Financial Institution

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          Stipulation No. 4: CHAN, Esparza, Huizar
   10D
          Dates & Positions as Public Officials

[11-19 Placeholder]

          2. City of Los Angeles Records
   20     Raymond CHAN Oath of Office (2013)                Civetti
   21     Raymond CHAN Salary 2013-2016                     Civetti
    22    Jose Huizar Oaths of Office (2005-2015)           Civetti
    23    3. CHAN Form 700s Coversheet
   23A    CHAN Form 700 (2013)                              Civetti
   23B    CHAN Form 700 (2014)                              Civetti
   23C    CHAN Form 700 (2015)                              Civetti
   23D    CHAN Form 700 (2016)                              Civetti
    24    4. CHAN Form 60s Coversheet
   24A    CHAN Form 60 (2013)                               Civetti
   24B    CHAN Form 60 (2014)                               Civetti
   24C    CHAN Form 60 (2015)                               Civetti
          5. Huizar Calendar Coversheet
    25    2013 Calendar                                     Civetti
    26    2014 Calendar                                     Civetti
    27    2015 Calendar                                     Civetti
    28    2016 Calendar                                     Civetti
    29    2017 Calendar                                     Civetti
    30    2018 Calendar                                     Civetti
   31A    Intentionally omitted
   31B    Intentionally omitted
   31C    Intentionally omitted
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   31D    Intentionally omitted
   31E    Intentionally omitted
   31F    Intentionally omitted
          6. City Ethics Certification
          City Ethics Certification of Absence of
   32                                                       Civetti
          Records

[33-39 Placeholder]

                                 B. Correspondence & Records
             1. Radar Screens
          2013 Radar Screens, Project Progress,
   40                                                Civetti
          Action Items [Identification Only]
          2014 Radar Screens, Project Progress,
   41                                                Civetti
          Action Items [Identification Only]
   41A    02/22/2014 Radar Screen                    Civetti
   41B    03/31/2014 Radar Screen                    Civetti
   41C    01/02/2014 Radar Screen                    Civetti
          2015 Radar Screens, Project Progress,
   42                                                Civetti
          Action Items [Identification Only]
   42A    05/03/2015 Radar Screen                    Civetti
   42B    11/08/2015 Radar Screen                    Civetti
   42C    11/22/2015 Radar Screen                    Civetti
   42D    12/06/2015 Radar Screen                    Civetti
          2016 Radar Screens, Project Progress,
   43                                                Civetti
          Action Items [Identification Only]
   43A    03/26/2016 Radar Screen                    Civetti
   43B    05/01/2016 Radar Screen                    Civetti
   43C    07/24/2016 Radar Screen                    Civetti
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          2017 Radar Screens, Project Progress,
   44                                                       Civetti
          Action Items [Identification Only]
   44A    01/01/2017 Radar Screen                           Civetti
   44B    06/11/2017 Radar Screen                           Civetti
   44C    10/04/2017 Radar Screen                           Civetti
   44D    10/10/2017 Radar Screen                           Civetti
   44E    12/14/2017 Radar Screen                           Civetti
          2018 Radar Screens, Project Progress,
   45                                                       Civetti
          Action Items [Identification Only]
   45A    07/09/2018 Radar Screen                           Civetti
   45B    10/07/2018 Radar Screen                           Civetti
   45C    10/21/2018 Radar Screen                           Civetti
   45D    10/28/2018 Radar Screen                           Civetti
          2019 Radar Screens, Project Progress,
   46                                                       Civetti
          Action Items [Identification Only]
             2. Huizar Records
   47     Huizar Computer Document Metadata                 Civetti
   48     10/03/2015 Huizar To Do List                      Civetti
   49     03/08/2016 Huizar To Do List                      Civetti
   50     10/05/2016 Huizar To Do List                      Civetti
             3. Incorporation Documents
   51     CA Secretary of State – Synergy                   Civetti
   52     CA Secretary of State – CCC                       Civetti
   53     CA Secretary of State – LABXG                     Civetti
             4. Financial Records
                                                            Civetti;
   54     2014 Synergy – Balance Sheet
                                                             Chiang
                                                            Civetti;
   54A    2014 Synergy – Profit & Loss
                                                             Chiang
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                                                            Civetti;
   55     2015 Synergy – Balance Sheet
                                                             Chiang
                                                            Civetti;
   55A    2015 Synergy – Profit & Loss
                                                             Chiang
                                                            Civetti;
   56     2016 Synergy – Balance Sheet
                                                             Chiang
                                                            Civetti;
   56A    2016 Synergy – Profit & Loss
                                                             Chiang
                                                            Civetti;
   56B    2016 Synergy Income Ledger
                                                             Chiang
                                                            Civetti;
   57     2017 Synergy – Balance Sheet
                                                             Chiang
                                                            Civetti;
   57A    2017 Synergy – Profit & Loss
                                                             Chiang
          CCC & Synergy 2018 Projected Monthly              Civetti;
   58
          Budget                                             Chiang
          East West Bank – CHAN LABXG Account
   59                                                       Civetti
          Coversheet
   59A    Opening Documents                                 Civetti
   59B    Bank Statements                                   Civetti
   59C    Deposits and Offsets                              Civetti
   59D    Checks                                            Civetti
          East West Bank – CHAN Personal Checking
   60                                                       Civetti
          Account Coversheet
   60A    Signature Cards                                   Civetti
   60B    Bank Statements                                   Civetti
   60C    Deposits and Offsets                              Civetti
   60D    Checks, Withdrawals, and Transfers                Civetti


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                                                            Civetti;
   61     2017 Synergy Income Ledger
                                                             Chiang
                                                            Civetti;
   62     2017 Chiang W2
                                                             Chiang
                                                            Civetti;
   63     2017 Chiang Form 1040
                                                             Chiang
                                                            Civetti;
   64     2016 Chiang W2
                                                             Chiang
                                                            Civetti;
   65     2016 Chiang Form 1040
                                                             Chiang

[66-69 Placeholder]

                                       C. Text Messages
          Huizar and CHAN (Sept. 2013-April 2015)
   70                                                 Civetti
          [Huizar iTunes] [Identification Only]
          Huizar and Chiang (Dec. 2014–Oct. 2018)    Civetti;
   71
          [Chiang Phone] [Identification Only]         Chiang
          02/28/2017 Huizar and Chiang re: Always    Civetti;
   71A
          be my Boss                                   Chiang
          09/30/2016 Huizar and CHAN re: CEO Mike
   71B                                                Civetti
          Liu
   72     CHAN and Huizar re: Greenland
          02/09/2014 re: Meeting CHAN, Huizar,
   72A                                                Civetti
          Ifei Chang
   72B    02/16/2014 re: Greenland Groundbreaking     Civetti
   72C    02/21/2014 re: Ifei Chang Call              Civetti
   72D    03/10/2014 re: Greenland TOT                Civetti
   72E    03/19/2014 re: Call about Greenland         Civetti
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   No.                Category/Description                  Witness      Def. Obj.     Gov’t Resp.        Court Ruling

[73 – 79 Placeholder]

                              D. Audio Recordings & Translations
          05/03/2017 Esparza and Chiang Recorded
   80                                                 Civetti
          Call (GE#2393) [Identification Only]
          05/03/2017 Esparza and Chiang Recorded     Civetti;
   80A    Call, Excerpt A – [Re: CHAN and Huizar     Esparza;
          Roles]                                       Chiang
          Excerpt A – Transcript [Identification
 80A-T                                                Civetti
          Only]
          05/03/2017 Esparza and Chiang Recorded     Civetti;
   80B    Call, Excerpt B [Re: Chairman Huang’s      Esparza;
          Leverage]                                    Chiang
          Excerpt B – Transcript [Identification
 80B-T                                                Civetti
          Only]
          05/03/2017 Esparza and Chiang Recorded     Civetti;
   80C    Call, Excerpt C [Re: Shit Hits the Fan,    Esparza;
          We Are Accessories]                          Chiang
          Excerpt C – Transcript [Identification
 80C-T                                                Civetti
          Only]
          05/11/2017 Esparza and Zheng Recorded      Civetti;
   81     Call (GE#3507) [Excerpt] [Re: Shanghai     Esparza;
          Construction]                                 Zheng
          Excerpt – Transcript [Identification
  81-T                                                Civetti
          Only]
          06/07/2017 CHAN and Huizar Recorded Call
   82     (JH#4539) [Excerpt]                         Civetti
          [Re: City Council Certificate]

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   No.                Category/Description                  Witness      Def. Obj.     Gov’t Resp.        Court Ruling
          Excerpt – Transcript [Identification
  82-T                                                      Civetti
          Only]
          07/09/2017 CHAN and Huizar Recorded Call
   83                                                       Civetti
          (JH#6958) [Identification Only]
   83A    Intentionally Omitted
          07/09/2017 CHAN and Huizar Recorded
   83B                                                      Civetti
          Call, Excerpt B – [Re: Really One Slap]
          Excerpt B – Transcript [Identification
 83B-T                                                      Civetti
          Only]
          10/23/2017 Huizar and Andy Wang Recorded          Civetti;
   84
          Meeting (1D164) [Identification Only]               Wang
          10/23/2017 Excerpt A – Huizar, Andy Wang          Civetti;
   84A
          Re: Elect Richelle and Run for Mayor                Wang
          Excerpt A – Transcript [Identification
 84A-T                                                      Civetti
          Only]
          10/23/2017 Excerpt B – Huizar, Andy Wang
                                                            Civetti;
   84B    Re: CHAN Introduced all of the Chinese
                                                              Wang
          Developers
          Excerpt B – Transcript [Identification
 84B-T                                                      Civetti
          Only]
          10/23/2017 Excerpt C – Huizar, Andy Wang
                                                            Civetti;
   84C    Re: CHAN asked about Vegas & Run for
                                                              Wang
          Mayor
          Excerpt C – Transcript [Identification
 84C-T                                                      Civetti
          Only]
   85     Intentionally Omitted
          08/25/2018 Huizar and Andy Wang Recorded          Civetti;
   86
          Meeting (1D237) [Excerpt]                           Wang


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   No.                Category/Description                  Witness      Def. Obj.     Gov’t Resp.        Court Ruling
          Excerpt – Transcript [Identification              Civetti;
  86-T
          Only]                                               Wang
          11/18/2018 CHAN and Chiang Recorded Call          Civetti;
   87
          (GC#19030) [Identification Only]                   Chiang
          11/18/2018 Excerpt A – CHAN, Chiang               Civetti;
   87A
          [Re: Company Subpoena]                             Chiang
          Excerpt A – Transcript [Identification
 87A-T                                                      Civetti
          Only]
          11/18/2018 Excerpt B – CHAN, Chiang               Civetti;
   87B
          [Re: Search Warrant]                               Chiang
          Excerpt B – Transcript [Identification
 87B-T                                                      Civetti
          Only]
          03/20/2019 Kim and David Lee Recorded
   88                                                       Civetti
          Meeting [Identification Only]
          03/20/2019 Kim and David Lee Recorded                        MIL No. 2       Opp’n MIL          MIL No. 2 -
          Meeting, Excerpt – Translated Transcript                                     No. 2              DENIED
  88-Z                                                      Civetti
          [Re: They’ll Just Catch a Few Big Guys
          and End It]
          03/27/2019 Kim and David Lee Recorded
   89                                                       Civetti
          Meeting [Identification Only]
          03/27/2019 Excerpt A – Translated                            MIL No. 2       Opp’n MIL          MIL No. 2 -
 89A-Z    Transcript – Justin Kim, David Lee [Re:           Civetti                    No. 2              DENIED
          Confirming Amount Kim Told FBI]
          03/27/2019 Excerpt B – Translated                            MIL No. 2       Opp’n MIL          MIL No. 2 -
 89B-Z    Transcript – Justin Kim, David Lee [Re:           Civetti                    No. 2              DENIED
          “They Surprisingly Don’t Know Much”]
          03/27/2019 Excerpt C – Translated                            MIL No. 2       Opp’n MIL          MIL No. 2 -
 89C-Z    Transcript – Justin Kim, David Lee [Re:           Civetti                    No. 2              DENIED
          We’re Probably Just a Drop in the Ocean]

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          03/27/2019 Excerpt D – Translated                                           Opp’n MIL       MIL No. 2 -
          Transcript – Justin Kim, David Lee [Re:                                     No. 2           DENIED
 89D-Z                                                      Civetti   MIL No. 2
          Should Emphasize We Were Played By
          Huizar]

[90 – 99 Placeholder]

                                       E. Photographs & Videos
             1. Photographs
          2017 Photographs of Los Angeles City
   100                                                      Civetti
          Resolution re: Raymond CHAN
          11/14/2018 Photographs of Search of
   101                                                      Civetti
          Synergy & CCC
             2. Media Video
          11/07/2018 ABC7 News Video Clip re: FBI
   102    Search of Huizar’s Office and Residence           Civetti
          [40 seconds]

[103 – 109 Placeholder]

                               F. Fundraising & Succession Plan
             1. City Records
          CA Form 460 re: Families for a Better      Civetti;
   110
          Los Angeles (2017–2018)                     Goldman
          CA Form 410 re: Families for a Better      Civetti;
   111
          Los Angeles (Oct. 2017)                     Goldman
             2. Records & Correspondence
          09/08/2014 Huizar Executive Meeting with Civetti;
   112
          Handwriting                                 Esparza
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          05/18/2015 Email and Spreadsheets from
                                                           Civetti;
   113    Esparza to Esparza re: Huizar Debt
                                                            Esparza
          Finance Plan and Salesian
          Photograph of “schools” and “bills”
  113A                                                      Esparza
          Provided by Huizar to Esparza
          05/24/2015 Email CHAN, Jeremy Chan with
   114                                                      Civetti
          ‘JH.docx’ Attachment
  114A    Metadata for Exhibit 114                         Civetti
          06/29/2015 Huizar Debt Finance Plan 2015         Civetti;
   115
          with Handwriting                                  Esparza
          06/30/2015 Email Huizar and CHAN re:
   116                                                      Civetti
          Joel Miller Came Through
                                                           Civetti;
          07/28/2015 Email from Esparza to Rios
   117                                                     Esparza;
          re: 2015 Salesian Fundraising Plan
                                                              Rios
                                                           Civetti;
          09/18/2015 Salesian Gala Program
   118                                                     Esparza;
          [Excerpt]
                                                              Rios
                                                           Civetti;
   119    09/18/2015 Salesian Tables
                                                            Esparza
          10/10/2016 HHH Fundraising Document with         Civetti;
   120
          Handwriting                                       Esparza
          2017 Huizar Fundraising Commitments with         Civetti;
   121
          Handwriting                                       Esparza
                                                           Civetti;
          02/08/2017 Email with Esparza and Rios
   122                                                     Esparza;
          re: 2017 Salesian Fundraising & Gala
                                                              Rios
   123    Intentionally Omitted


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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          03/20/2017 Email Goldman and Cotter re:                     MIL No. 2                       MIL No. 2 -
                                                           Civetti;                   Opp’n MIL
   124    “More Favored Status with Jose” Than                                                        DENIED
                                                            Goldman                   No. 2
          Other Developer
          01/10/2018 Email Huizar, Esparza
                                                           Civetti;
   125    Attaching Spreadsheets Entitled “Copy of
                                                            Esparza
          Commitments” and “IE Huizar Strategy”
  125A    Metadata for Exhibit 125                          Civetti
          01/16/2018 Email Huizar, Christina
          Kegeyan Attaching Spreadsheets Titled
   126                                                      Civetti
          “Master List PAC” and “Initial
          Commitments to PAC”
  126A    Metadata for Exhibit 126                          Civetti
          03/26/2018 Email Huizar to Self,
   127    Attaching “Fun[d]raising Plan” &                  Civetti
          Attachment
          04/09/2018 CHAN Calendar Entry re:
   128                                                      Civetti
          Huizar and Rios Dinner
                                                           Civetti;
          04/04/2018 Email CHAN, Cotter, Stephanie
  128A                                                       Rios;
          Mkhlian re: Rios Dinner with Developers
                                                              Kuk
                                                           Civetti;
          04/09/2018 Contacts and Seating Chart
  128B                                                       Rios;
          for Rios Meet & Greet with Developers
                                                              Kuk
                                                           Civetti;
          04/09/2018 Kuk Brief re: Rios Meet &
   129                                                       Rios;
          Greet with Chinese Development Groups
                                                              Kuk
          04/13/2018 Email Huizar and Goldman                         MIL No. 2                       MIL No. 2 -
                                                           Civetti;                   Opp’n MIL
   130    Attaching “Fundraising Plan” for                                                            DENIED
                                                            Goldman                   No. 2
          Families for a Better LA

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          06/13/2018 Email Carmel Compliance re:                      MIL No. 2                       MIL No. 2 -
                                                                                      Opp’n MIL
   131    Processing $25K Donation to Families for          Civetti                                   DENIED
                                                                                      No. 2
          a Better LA
          06/13/2018 $25k Contribution (Two Carmel         Civetti;   MIL No. 2       Opp’n MIL       MIL No. 2 -
   132
          Checks) to Families for a Better LA PAC           Goldman                   No. 2           DENIED
          08/09/2018 Email Goldman and Cotter re:                     MIL No. 2                       MIL No. 2 -
                                                           Civetti;                   Opp’n MIL
   133    “Labor Issue” and Taking Union Leader                                                       DENIED
                                                            Goldman                   No. 2
          “Off the Chess Board”
          2018 RAS Draft Investigative Due
   134    Diligence Report re: Pauline Medina               Civetti
          [Excerpt] [Identification Only]
          10/31/2018 Goldman Spreadsheet Tracking
                                                           Civetti;
   135    Commitments and Contributions to
                                                            Goldman
          Families for a Better Los Angeles PAC
          05/13/2014 Email CHAN, Huizar re:
   136                                                      Civetti
          Fundraising List
          05/17/2014 Email CHAN, Huizar &
   137    Attachment re: 06/02/2014 Fundraising             Civetti
          Event – City Club

[138 – 139 Placeholder]

             3. Text Messages
          11/15/2017 Huizar and Esparza re: Rios           Civetti;
   140
          PAC                                               Esparza
          01/08/2018 Huizar and Goldman re: PAC            Civetti;   MIL No. 2       Opp’n MIL       MIL No. 2 -
   141
          Stuff                                             Goldman                   No. 2           DENIED
          05/08/2018 Goldman and Cotter re: Huge           Civetti;   MIL No. 2       Opp’n MIL       MIL No. 2 -
   142
          Issue                                             Goldman                   No. 2           DENIED

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          06/18/2018 Goldman and Max Zeff re: PAC          Civetti;   MIL No. 2       Opp’n MIL       MIL No. 2 -
   143
          Contribution Checks and PLUM Meeting              Goldman                   No. 2           DENIED
          08/14/2018 Goldman and Max Zeff re:                         MIL No. 2                       MIL No. 2 -
                                                           Civetti;                   Opp’n MIL
   144    “More Painful Meaning More Money” “heavy                                                    DENIED
                                                            Goldman                   No. 2
          lift”
          09/04/2018 Goldman and Cotter re: Huizar         Civetti;   MIL No. 2       Opp’n MIL       MIL No. 2 -
   145
          Meeting                                           Goldman                   No. 2           DENIED
          09/06/2018 Goldman and Cotter re: Huizar         Civetti;   MIL No. 2       Opp’n MIL       MIL No. 2 -
   146
          Meeting                                           Goldman                   No. 2           DENIED
          09/10/2018 Huizar and Goldman re: Carmel         Civetti;   MIL No. 2       Opp’n MIL       MIL No. 2 -
   147
          PLUM                                              Goldman                   No. 2           DENIED
                                                           Civetti;
   148    09/11/2018 Huizar and Goldman re: PAC
                                                            Goldman
          09/11/2018 Goldman and Cotter re: PLUM           Civetti;   MIL No. 2       Opp’n MIL       MIL No. 2 -
   149
          Schedule                                          Goldman                   No. 2           DENIED
          09/24/2018 Huizar and Goldman re: Carmel         Civetti;   MIL No. 2       Opp’n MIL       MIL No. 2 -
   150
          Meeting                                           Goldman                   No. 2           DENIED
          09/24/2018 Goldman and Cotter re:                Civetti;   MIL No. 2       Opp’n MIL       MIL No. 2 -
   151
          Meeting                                           Goldman                   No. 2           DENIED
          09/26/2018 Goldman and Cotter re:                Civetti;   MIL No. 2       Opp’n MIL       MIL No. 2 -
   152
          Huizar, Cotter Meeting                            Goldman                   No. 2           DENIED
          09/28/2018 Huizar and Goldman re: Cotter         Civetti;   MIL No. 2       Opp’n MIL       MIL No. 2 -
   153
          Meeting                                           Goldman                   No. 2           DENIED
          10/13/2018 Goldman and Cotter re: PLUM           Civetti;   MIL No. 2       Opp’n MIL       MIL No. 2 -
   154
          Contacts                                          Goldman                   No. 2           DENIED
          10/16/2018 Goldman and Cotter re: Huizar         Civetti;   MIL No. 2       Opp’n MIL       MIL No. 2 -
   155
          Items                                             Goldman                   No. 2           DENIED
          10/30/2018 Goldman, Cotter re: Political         Civetti;   MIL No. 2       Opp’n MIL       MIL No. 2 -
   156
          Stuff                                             Goldman                   No. 2           DENIED

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   157    11/05/2018 Huizar, CHAN re: Rios Event            Civetti

   158       4. CHAN – Huizar Text Message
          12/03/2013 CHAN, Huizar re: “make sure
  158A                                                      Civetti
          we get the commitment”
          12/28/2013 CHAN, Huizar re: “Good news –
  158B                                                      Civetti
          we have gathered all 45.”
          05/12/2014 CHAN, Huizar re: List and
  158C                                                      Civetti
          Calls
          06/02/2014 CHAN, Huizar re: “10 more
  158D                                                      Civetti
          based on my calls” “22k”
          06/13/2015 CHAN, Huizar re: “office
  158E                                                      Civetti
          account”

[159 Placeholder]

             5. Audio Recordings & Translations
          05/09/2017 Huizar and Goldman Recorded                      MIL No. 2                       MIL No. 2 -
                                                           Civetti;                   Opp’n MIL
   160    Call (JH#1505) re: Carmel Contribution                                                      DENIED
                                                            Goldman                   No. 2
          [Excerpt]
          Excerpt – Transcript [Identification
 160-T                                                      Civetti
          Only]
          06/02/2017 Huizar and Goldman Recorded
   161    Call (JH#3967) re: PAC [Identification            Civetti
          Only]
          06/02/2017 Excerpt A – Huizar, Goldman           Civetti;
  161A
          [Re: Future CD-14 Councilwoman]                   Goldman
          Excerpt A – Transcript [Identification
 161A-T                                                     Civetti
          Only]
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          06/02/2017 Excerpt B – Huizar, Goldman           Civetti;
  161B
          [Re: Face of the Committee]                       Goldman
          Excerpt B – Transcript [Identification
 161B-T                                                     Civetti
          Only]
                                                           Civetti;
  161C    Intentionally Omitted
                                                            Goldman
          06/29/2017 Huizar and Goldman Recorded
                                                           Civetti;
   162    Call (JH#6223) [Excerpt] [Re: PAC
                                                            Goldman
          Control]
          Excerpt – Transcript [Identification
 162-T                                                      Civetti
          Only]
          04/09/2018 Video of CHAN Hosted Dinner           Civetti;
   163
          re: Rios Campaign                                  Wang
          04/20/2018 Recorded Call CHAN and Steve
   164                                                      Civetti
          Afriat re: PAC Disclosure [Excerpt]
 164-T    Transcript [Identification Only]                 Civetti
          04/20/2018 Recorded Call CHAN and Chiang         Civetti;
   165
          re: PAC Disclosure [Excerpt]                      Chiang
 165-T    Transcript [Identification Only]                 Civetti

[166 – 169 Placeholder]

                                        G. Concealment
             1. Records and Correspondence
   170    Intentionally Omitted
          02/03/2015 Email Chiang, CHAN, developer
  170A                                                 Chiang
          re: “don’t include me”
          07/14/2016 Email Huizar, Esparza re:       Civetti;
   171
          Limit Phone Conversations                   Esparza
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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
                                                           Civetti;
   172    06/22/2017 Esparza Note re: FBI
                                                            Esparza
             2. Text Messages
                                                           Civetti;
   173    02/23/2018 Huizar and Goldman re Confide
                                                            Goldman
          09/13/2018 HUIZAR and Esparza re: “Up            Civetti;
   174
          for some Orange Juice”                            Esparza
          10/01/2018 HUIZAR and Esparza re:                Civetti;
   175
          “Square Up”                                       Esparza
          01/31/2014 Email CHAN, Tim Cho re: “bc
   176                                                      Civetti
          Jeremy and me”
          03/17/2015 Text Message CHAN, Huizar re:
   177                                                      Civetti
          Oceanwide & “I need to keep distance.”
                                                           Civetti;
          02/25/2016 Text Message Esparza, Chiang
   178                                                     Esparza;
          re: Richelle’s Firm
                                                            Chiang
          12/10/2016 Text message CHAN, Chiang re:         Civetti;
   179
          “Don’t tell Jose”                                 Chiang

             3. Audio Recordings & Translations
          04/26/2017 Huizar and Isidra Huizar
   180    Recorded Call (JH#467) [Identification            Civetti
          Only]
          04/26/2017 Huizar and Isidra Huizar
          Recorded Call, Translated Transcript
 180-Z                                                      Civetti
          [Re: Need Checks, Have to Give the
          Money]



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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          05/18/2017 Esparza and Kim Wire Call
                                                           Civetti;
   181    [Excerpt] [Re: They Have the
                                                            Esparza
          Councilman’s Name on There]
          Excerpt – Transcript [Identification
 181-T                                                      Civetti
          Only]
 181-S    Intentionally Omitted
          05/25/2017 Esparza and Kim Wire Call
                                                           Civetti;
   182    [Excerpt] [Re: Be Very Careful.
                                                            Esparza
          Political Corruption]
          Excerpt – Transcript [Identification
 182-T                                                      Civetti
          Only]
 182-S    Intentionally Omitted
          05/30/2017 Huizar and Isidra Huizar
   183    Recorded Call (JH#3563) [Identification           Civetti
          Only]
          05/30/2017 Huizar and Isidra Huizar
 183-Z    Recorded Call, Translated Transcript              Civetti
          [Re: Need Checks, Still have Money]
          06/26/2017 Huizar and Isidra Huizar
   184    Recorded Call (JH#5926) [Identification           Civetti
          Only]
          06/26/2017 Huizar and Isidra Huizar
 184-Z    Recorded Call, Translated Transcript              Civetti
          [Re: Need Checks]
          07/11/2017 Esparza and Kim Wire Call                        MIL No. 2       Opp’n MIL       MIL No. 2 -
                                                           Civetti;
   185    [Excerpt] [Re: They Keep Asking if I                                        No. 2           DENIED
                                                            Esparza
          Gave Something to You]
          Excerpt – Transcript [Identification
 185-T                                                      Civetti
          Only]

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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
 185-S    Intentionally Omitted
          08/23/2017 CHAN and Andy Wang Recorded           Civetti;
   186
          Meeting (1D130)[Identification Only]               Wang
          08/23/2017 CHAN and Andy Wang Recorded
          Meeting, Excerpt A – Translated                  Civetti;
 186A-Z
          Transcript – [Re: “George is a                     Wang
          government worker”]
          08/23/2017 CHAN and Andy Wang Recorded
          Meeting, Excerpt B – Translated                  Civetti;
 186B-Z
          Transcript – [Re: Subject Photos, La               Wang
          Vue, Zheng’s Photo]
          08/23/2017 CHAN and Andy Wang Recorded                      MIL No. 1       Opp’n MIL       MIL No. 1 -
          Meeting, Excerpt C – Translated                                             No. 1           DENIED
                                                           Civetti;
 186C-Z   Transcript – [Re: “They asked that had
                                                             Wang
          Huang Wei and Ricky invited any
          government officials to go to Vegas.”]
          08/23/2017 CHAN and Andy Wang Recorded
          Meeting, Excerpt D – Translated                  Civetti;
 186D-Z
          Transcript – [Re: “I am the one who                Wang
          should be worried”]
          08/23/2017 CHAN and Andy Wang Recorded                      MIL No. 1       Opp’n MIL       MIL No. 1 -
          Meeting, Excerpt E – Translated                  Civetti;                   No. 1           DENIED
 186E-Z
          Transcript – [Re: “Did FBI ask about               Wang
          other things about me?”]
          08/23/2017 CHAN and Andy Wang Recorded                      MIL No. 1       Opp’n MIL       MIL No. 1 -
          Meeting, Excerpt F – Translated                                             No. 1           DENIED
                                                           Civetti;
 186F-Z   Transcript – [Re: Esparza, Zheng, Huang
                                                             Wang
          in Photo, “City people they are looking
          at.”]

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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
 186G-Z   Intentionally Omitted
          08/23/2017 CHAN and Andy Wang Recorded                                                      MIL No. 1 -
          Meeting, Excerpt H – Translated                  Civetti;                   Opp’n MIL       DENIED
 186H-Z                                                               MIL No. 1
          Transcript – [Re: “Actually aiming for             Wang                     No. 1
          Jose.” “Vegas is a huge problem.”]
          08/23/2017 CHAN and Andy Wang Recorded                                                      MIL No. 1 -
          Meeting, Excerpt I – Translated                                                             DENIED
                                                           Civetti;                   Opp’n MIL
 186I-Z   Transcript – [Re: “Jose has other jets                      MIL No. 1
                                                             Wang                     No. 1
          under different names.” “Biggest problem
          is on the high roller.”]
 186J-Z   Intentionally Omitted
          08/23/2017 CHAN and Andy Wang Recorded                                                      MIL No. 1 -
                                                           Civetti;                   Opp’n MIL
 186K-Z   Meeting, Excerpt K – Translated                             MIL No. 1                       DENIED
                                                             Wang                     No. 1
          Transcript – [Re: Cash & Casino Chips]
          12/28/2017 Metadata for Audio File from                     MIL No. 2       Opp’n MIL       MIL No. 2 -
   187                                                      Civetti
          Esparza’s Phone                                                             No. 2           DENIED
          12/28/2017 Huizar and Esparza Recorded                      MIL No. 2       Opp’n MIL       MIL No. 2 -
                                                           Civetti;
  187A    Meeting Excerpt A [Re: I’m Gonnna Need                                      No. 2           DENIED
                                                            Esparza
          Money]
          Excerpt A – Transcript [Identification
 187A-T                                                     Civetti
          Only]
 187A-S   Intentionally Omitted
          12/28/2017 Huizar and Esparza Recorded
                                                           Civetti;
  187B    Meeting Excerpt B [Re: We Are Both in
                                                            Esparza
          This Together]
          Excerpt B – Transcript [Identification
 187B-T                                                     Civetti
          Only]
 187B-S   Intentionally Omitted                             Civetti


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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          09/05/2018 CHAN Recorded Call re: FBI
   188    Interview (1D247) [Related to Ex. 205]            Civetti
          [Excerpt]
          Excerpt – Transcript [Identification
 188-T                                                      Civetti
          Only]
          09/05/2018 Wire Interception of CHAN’s
          Office (TL2#138) re: FBI – “I hope this
   189                                                      Civetti
          isn’t about Jose” [Related to Ex. 205]
          [Excerpt]
          Excerpt – Transcript [Identification
 189-T                                                      Civetti
          Only]
          09/12/2018 CHAN FBI Interview (1D240)
   190                                                      Civetti
          [Related to Ex. 207, 208, 209] [Excerpt]
          Excerpt – Transcript [Identification
 190-T                                                      Civetti
          Only]
          11/07/2018 CHAN FBI Interview Part 1
   191                                                      Civetti
          (1D285) [Identification Only]
          11/07/2018 CHAN FBI Interview Part 1,
  191A                                                      Civetti
          Excerpt A – [Re: Must be Truthful]
          Excerpt A – Transcript [Identification
 191A-T                                                     Civetti
          Only]
          11/07/2018 CHAN FBI Interview Part 1,
  191B    Excerpt B – [Re: Voluntary, Not Under             Civetti
          Arrest, Truthful]
          Excerpt B – Transcript [Identification
 191B-T                                                     Civetti
          Only]
          11/07/2018 CHAN FBI Interview Part 1,
  191C    Excerpt C – [Re: “Jose jump in to help            Civetti
          us” for Consolidation]

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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          Excerpt C – Transcript [Identification
 191C-T                                                     Civetti
          Only]
          C11/07/2018 CHAN FBI Interview Part 1,
  191D    Excerpt D – [Re: Huizar International             Civetti
          Trips]
          Excerpt D – Transcript [Identification
 191D-T                                                     Civetti
          Only]
  191E    Intentionally Omitted
          11/07/2018 CHAN FBI Interview Part 1,
  191F    Excerpt F – [Re: “Personally I have no            Civetti
          involvement at all.”]
          Excerpt F – Transcript [Identification
 191F-T                                                     Civetti
          Only]
          11/07/2018 CHAN FBI Interview Part 1,
  191G    Excerpt G – [Re: “Vegas… Multiple                 Civetti
          Times”]
          Excerpt G – Transcript [Identification
 191G-T                                                     Civetti
          Only]
          11/07/2018 CHAN FBI Interview Part 1,
  191H    Excerpt H – [Re: CHAN Translated for              Civetti
          Huang]
          Excerpt H – Transcript [Identification
 191H-T                                                     Civetti
          Only]
          11/07/2018 CHAN FBI Interview Part 1,
  191I    Excerpt I – [Re: Huang Submitted                  Civetti
          Something for LA Grand and Sheraton]
          Excerpt I – Transcript [Identification
 191I-T                                                     Civetti
          Only]


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          11/07/2018 CHAN FBI Interview Part 1,
          Excerpt J – CHAN & SA Tampubolon
  191J                                                      Civetti
          [Re: Not Involved in LA Grand Expansion
          & Don’t Know what Huang did to Help]
          Excerpt J – Transcript [Identification
 191J-T                                                     Civetti
          Only]
  191K    Intentionally Omitted
          11/07/2018 CHAN FBI Interview Part 1,
  191L    Excerpt L – [Re: Huang Never asked                Civetti
          Huizar for Anything]
          Excerpt L – Transcript [Identification
 191L-T                                                     Civetti
          Only]
          11/07/2018 CHAN FBI Interview Part 1,
  191M    Excerpt M – [Re: Didn’t talk to Huang             Civetti
          about Expansion]
          Excerpt M – Transcript [Identification
 191M-T                                                     Civetti
          Only]
          11/07/2018 CHAN FBI Interview Part 1,
  191N    Excerpt N – [Re: “Whatever they do in             Civetti
          Vegas I have no clue.”
          Excerpt N – Transcript [Identification
 191N-T                                                     Civetti
          Only]
          11/07/2018 FBI Interview of CHAN Part 2
   192                                                      Civetti
          (1D285) [Identification Only]
  192A    Intentionally Omitted
          11/07/2018 CHAN FBI Interview Part 2,
  192B                                                      Civetti
          Excerpt B – [Re: “No doubt in my mind.”
          Excerpt B – Transcript [Identification
 192B-T                                                     Civetti
          Only]

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          11/07/2018 CHAN FBI Interview Part 2,
  192C    Excerpt C – [Re: “Didn’t need [Huizar]            Civetti
          to do anything.”]
          Excerpt C – Transcript [Identification
 192C-T                                                     Civetti
          Only]
          11/07/2018 CHAN FBI Interview Part 2,
  192D                                                      Civetti
          Excerpt D – [Re: Speculation]
          Excerpt D – Transcript [Identification
 192D-T                                                     Civetti
          Only]
          C11/07/2018 CHAN FBI Interview Part 2,
          Excerpt E – [Re: “Speculate [Huang] did
  192E                                                      Civetti
          help [Huizar]. I was not part of that.”
          “No way I helped with it.”]
          Excerpt E – Transcript [Identification
 192E-T                                                     Civetti
          Only]
  192F    Intentionally Omitted
          11/07/2018 CHAN FBI Interview Part 2,
  192G                                                      Civetti
          Excerpt G – [Re: Greenland]
          Excerpt G – Transcript [Identification
 192G-T                                                     Civetti
          Only]
          11/07/2018 CHAN FBI Interview Part 2,
  192H    Excerpt H – [Re: Huang Not Involved in            Civetti
          Development Process]
          Excerpt H – Transcript [Identification
 192H-T                                                     Civetti
          Only]
  192I    Intentionally Omitted
          11/07/2018 CHAN FBI Interview Part 2,
  192J    Excerpt J – [Re: No Officials Asked for           Civetti
          Money]

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          Excerpt J – Transcript [Identification
 192J-T                                                     Civetti
          Only]
          11/07/2018 CHAN FBI Interview Part 2,
  192K    Excerpt K – [Re: Huizar Never Involved            Civetti
          with Issues with LA Grand]
          Excerpt K – Transcript [Identification
 192K-T                                                     Civetti
          Only]
          11/07/2018 CHAN FBI Interview Part 2,
  192L    Excerpt L – [Re: “Speculate it was the            Civetti
          Chairman”
          Excerpt L – Transcript [Identification
 192L-T                                                     Civetti
          Only]
          11/07/2018 CHAN FBI Interview Part 2,
  192M    Excerpt M – [Re: “I don’t say I                   Civetti
          facilitated any [loans].”
          Excerpt M – Transcript [Identification
 192M-T                                                     Civetti
          Only]
  192N    Intentionally Omitted
          11/07/2018 CHAN FBI Interview Part 2,
  192O    Excerpt O – [Re: “Did not hear”                   Civetti
          investigation re: Huizar]
          Excerpt O – Transcript [Identification
 192O-T                                                     Civetti
          Only]

[193 – 199 Placeholder]

             4. Photographs & Videos
          02/10/2017 Photographs and Metadata of           Civetti;   MIL No. 2       Opp’n MIL       MIL No. 2 -
   200
          Cash from Esparza’s Phone                         Esparza                   No. 2           DENIED

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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          02/11/2017 Metadata of Video from                Civetti;   MIL No. 2       Opp’n MIL       MIL No. 2 -
   201
          Esparza’s Phone                                   Esparza                   No. 2           DENIED
          02/11/2017 Video of Liquor Box from              Civetti;   MIL No. 2       Opp’n MIL       MIL No. 2 -
   202
          Esparza’s Phone                                   Esparza                   No. 2           DENIED
          03/14/2017 Photographs and Metadata of           Civetti;   MIL No. 2       Opp’n MIL       MIL No. 2 -
   203
          Cash from Esparza’s Phone                         Esparza                   No. 2           DENIED
          03/14/2017 Metadata of Videos from               Civetti;   MIL No. 2       Opp’n MIL       MIL No. 2 -
   204
          Esparza’s Phone                                   Esparza                   No. 2           DENIED
          09/05/2018 Recorded Video CHAN’s Office
   205    re: FBI Phone Call [Related to Ex. 188 &          Civetti
          Ex. 189]
          09/10/2018 Recorded Video CHAN’s
   206                                                      Civetti
          Conference Room
          09/12/2018 Recorded Video CHAN’s Office
   207    re: FBI Interview Initiated [Related to           Civetti
          Ex. 190]
          09/12/2018 Recorded Video CHAN’s Office
   208    re: FBI Interview Concluded [Related to           Civetti
          Ex. 190]
          09/12/2018 Recorded Video CHAN’s Office
   209                                                      Civetti
          re: Checking Chairs [Related to Ex. 190]
          11/07/2018 Photographs of Search of                         MIL No. 1       Opp’n MIL       MIL No. 1 -
   210                                                      Civetti
          Huizar’s Residence – Cash in Closet                                         No. 1           DENIED
          11/07/2018 Photographs of Search of
   211    Huizar’s Residence – Cash in Red                  Civetti
          Envelopes
          10/12/2018 Ring Camera Video of Huizar           Civetti;   MIL No. 2       Opp’n MIL       MIL No. 2 -
   212
          at Esparza’s House                                Esparza                   No. 2           DENIED


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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          10/12/2018 Screenshot of Ring Camera             Civetti;   MIL No. 2       Opp’n MIL       MIL No. 2 -
  212A
          Video                                             Esparza                   No. 2           DENIED
          02/13/2019 Photographs of $250,000 Cash          Civetti;   MIL No. 2       Opp’n MIL       MIL No. 2 -
   213
          Seized by FBI from Zheng                          Esparza                   No. 2           DENIED

[214 – 219 Placeholder]

             5. Financial Records
          12/01/2015 Huizar Computer Finances
   220                                                      Civetti
          Document
          Chase Credit Card Statement – Jose
   221    Huizar (November 2015) – Salvador                 Civetti
          Payment [Excerpt]
          Chase Credit Card Statements – Jose
   222    Huizar (April – August 2017) – Isidra             Civetti
          Payments [Excerpt]
   223    Bank Records Excerpts – Isidra Huizar            Civetti
   224    Bank Records Excerpts – Salvador Huizar          Civetti
                                                           Civetti;
   225    Bank Records Excerpts – Richelle Rios
                                                             Rios
   226    Intentionally Omitted
   227    Intentionally Omitted
   228    Intentionally Omitted
          12/22/2016 Text Message Chiang, Jeremy           Civetti;
   229
          Chan                                              Chiang
          07/01/2017 Test Message CHAN, Chiang re:
                                                           Civetti;
   230    “Looking forward to open a new chapter
                                                            Chiang
          with you!”
   231    11/06/2018 Synergy Alliance Subpoena              Civetti
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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
   232    11/06/2018 CCC Investment Subpoena               Civetti
          10/21/2018 Radar Screen with “Attorney           Civetti;
   233
          Client Privilege” Handwriting                     Chiang

[234 – 299 Placeholder]

             2 | SHEN ZHEN NEW WORLD (LA GRAND HOTEL PROJECT)
                                        A. Background
          Shen Zhen New World I, LLC, California
   300    Secretary of State Business Records         Civetti
          (02/05/2010)
          Shen Zhen New World II, LLC, California
   301    Secretary of State Business Records         Civetti
          (09/17/2010)
   302    www.sznewworld.com – Homepage               Civetti
          www.sznewworld.com – Chairman Oration
   303                                                Civetti
          [redacted]
          www.sznewworld.com – 01/12/2011 News re:
   304                                                Civetti
          Sheraton
          www.sznewworld.com – 03/03/2013 News re:
   305                                                Civetti
          20th Anniversary
   306    LA Grand Application – Main (06/07/2018)    Civetti
   307    LA Grand Application – Renderings           Civetti
          LA Grand Application – Huang Letter of
   308                                                Civetti
          Ownership
   309    LA Grand Application – TFAR Application     Civetti
          Sheraton Universal Application – Main
   310                                                Civetti
          (06/07/2018)

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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          Sheraton Universal Application – Huang
   311                                                      Civetti
          Letter of Ownership
          Sheraton Universal Application –
   312                                                      Civetti
          Architectural Plans
          06/20/2018 Curbed LA Article re: “See
          the 77-story Bunker Hill tower that
   313                                                      Civetti
          wants to be LA’s tallest”
          [Identification Only]

[314 – 319 Placeholder]

                                B. Correspondence & Records | SZNW
             1. General
   320    04/05/2013 Consolidation Memo                    Civetti
                                                           Civetti;
          05/02/2013 Email CHAN, Esparza, Harris
   321                                                     Esparza;
          Chan re: China
                                                            Harris
          05/02/2013 Email Esparza, Harris Chan            Civetti;
   322    re: Letter to the American Consulate in          Esparza;
          Guangzhou [with attachment]                       Harris
                                                           Civetti;
          06/10/2013 Email CHAN, Esparza, Harris
   323                                                     Esparza;
          Chan re: Letter to the D Family
                                                            Harris
          06/17/2013 Email Esparza, Harris Chan            Civetti;
   324    re: Visa Application for Zhifang Huang           Esparza;
          [with attachment]                                 Harris
          07/15/2013 Email Huizar, Esparza, Harris         Civetti;
   325    Chan re: Harris ask for Huizar help re:          Esparza;
          Labor Consultant                                  Harris

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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          08/06/2013 Report of the Chief
   326    Legislative Analyst re: Hotel Incentive           Civetti
          Program
          09/20/2013 Email Huizar, Yvette Rojas
   327                                                      Civetti
          re: Walsh and Delijani
          10/01/2013 Email Huizar, CHAN, Harris            Civetti;
   328
          Chan re: Short Meeting                            Harris
          10/08/2013 Email Huizar, CHAN re:
   329                                                      Civetti
          Consolidation
          10/08/2013 Email Huizar, Esparza re:             Civetti;
   330
          Consolidation                                     Esparza
          11/06/2013 Email Huizar, E. Martell re:
   331                                                      Civetti
          Fw: motion amendment
   332    11/19/2013 RFP Site Map                           Civetti
   333    12/11/2013 RFP Information                        Civetti
          12/19/2013 Email CHAN, Huang Fwd: Huizar
   334    Re-Election Campaign – Donation Form              Civetti
          [with attachment]
          12/19/2013 Email Huizar, Huang re:
   335                                                      Civetti
          Golden Hills Proposal [with Attachment]
          01/12/2014 Proposed Strategies for
   336                                                      Civetti
          Parking Agreement Negotiation
  336A    Metadata for Exhibit 423                          Civetti
          01/14/2014 Email CHAN, Huizar Fwd:
   337    Parking Negotiation Summary [with                 Civetti
          Attachment]
          01/28/2014 City of Los Angeles,
   338                                                      Civetti
          Consolidation Memo to PLUM


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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          02/28/2014 Jeremy Chan Letter to
   339    Chairman “Gift to Invest and Prepare for          Civetti
          my Future” [Identification Only]
          Metadata for Exhibit 339 [Identification
  339A                                                      Civetti
          Only]
          03/02/2014 CHAN Questions re: Union
   340                                                      Civetti
          Questions
          03/03/2014 CHAN Questions for Union
   341                                                      Civetti
          Negotiations
          04/23/2014 City of Los Angeles
   342                                                      Civetti
          Resolution re: Huang
          10/28/2015 Huizar November 2015 China            Civetti;
   343
          Trip Document with Handwriting                    Esparza
          03/10/2016 Email Huang, Zheng, Allen
   344    Xiao, et al. re: Downtown Hotel Land-Use          Civetti
          Planning
          03/18/2016 Email DiMarzio, Li, Kato re
   345                                                      Civetti
          Status for the New Design
          03/18/2016 Email DiMarzio, Kato re
   346                                                      Civetti
          Market Study
          05/05/2016 Email Chan, Zheng, etc. re
   347                                                      Civetti
          New World Hotels expansion study
          06/01/2016 Email DiMarzio, Chan, Kato
   348                                                      Civetti
          re: New World Hotel Property Development
          06/01/2016 Email Chain CHAN, Jeff
   349    DiMarzio, Catherine Nuezca Gaba Re: New           Civetti
          World Hotel Property Development
          07/30/2016 Email Huang, Jeff DiMarzio
   350                                                      Civetti
          Re: Hotel Study [Translated]

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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
   351    08/04/2016-8/7/2016 Huizar Calendar              Esparza
          08/04/2016 Shawn Kuk Brief re: Mtg w/            Civetti;
   352
          CHAN and Planning – LA Downtown Hotel               Kuk
          08/05/2016 Excerpt of Shawn Kuk CD 14            Civetti;
   353
          Planning Report [Redacted]                          Kuk
          08/11/2016 Letter Li Chen, Darius Hatami
          to Huang, Don Li re: Proposed Los
   354                                                      Civetti
          Angeles Downtown Hotel and Condo
          Development
          08/18/2016 Email Huang, Li Chen, Darius
   355    Hatami re: HVS Proposal – LA Downtown             Civetti
          Hotel and Condo Development
          10/19/2016 Email Huizar, Zheng re: LA
   356    Hotel Letter [translated] [with                   Civetti
          attachment]
          10/20/2016 Email Huang, Esparza, Zheng
                                                           Civetti;
   357    re: Letter from Councilman Jose Huizar
                                                            Esparza
          [with attachment]
          12/16/2016 Email Huizar, Esparza re:             Civetti;
   358
          List of Land-Use Consultants                      Esparza
          12/19/2016 Email Huang, Zheng, Virginia
   359                                                      Civetti
          Clark Fwd: Land-Use Consultants
          03/01/2017 HVS Market Study – The LA
   360                                                      Civetti
          Hotel Downtown Expansion
          08/11/2016 Draft HVS Market Study – The
  360A    LA Hotel Downtown Expansion [Chan’s               Civetti
          Google Drive]
   361    CHAN Google Drive – TFAR Description              Civetti
   362    CHAN Google Drive – TFAR Ordinance                Civetti

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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling

   363       2. Esparza Phone Notes (SZNW) Coversheet
                                                           Civetti;
  363A    09/18 – 09/19/2014 Esparza Phone Notes
                                                            Esparza
                                                           Civetti;
  363B    07/17/2015 Esparza Note re: China Trip
                                                            Esparza
          07/28/2015 Esparza Note re: Vegas Cool           Civetti;   MIL No. 1       Opp’n MIL       MIL No. 1 -
  363C
          Off                                               Esparza                   No. 1           DENIED
          08/13/2015 Esparza Phone Note re: China          Civetti;
  363D
          Trip                                              Esparza
          09/15/2015 Esparza Phone Note re: Evan           Civetti;
  363E
          Huang’s Girlfriend                                Esparza
          10/21/2015 Esparza Phone Note re: China          Civetti;
  363F
          Trip                                              Esparza
  363G    Intentionally Omitted
                                                     Civetti;
  363H    04/27 – 05/04/2017 Esparza Phone Notes
                                                      Esparza
          06/27/2017 Esparza Phone Note re:          Civetti;
  363I
          Sheraton Union Issue                        Esparza
          08/03/2017 Esparza Phone Note re: CM       Civetti;
  363J
          Settlement                                  Esparza
   364       3. CHAN – Huizar Text Messages Coversheet
  364A    09/27/2013 re: Delijani Meeting             Civetti
  364B    10/02/2013 re: “Chairman is Waiting”        Civetti
          10/06/2013-10/08/2013 re: Delijani
  364C    Meeting and Consolidation – “Eloquent       Civetti
          Speaker! Unbelievable!”
          10/09/2013-10/14/2013 re: Harris Chan
  364D                                                Civetti
          “Next Steps” and Delijani Meeting
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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          10/17/2013-10/18/2013 re: Godoy Lawsuit
  364E                                                      Civetti
          Filed and Chairman Help
          10/28/2013-11/1/2013 re: “Great meeting
  364F                                                      Civetti
          with Harris and Saharam”
  364G    11/06/2013 re: Call Chairman                      Civetti
  364H    11/06/2013 re: Consolidation                      Civetti
          11/25/2013-11/30/2013 re: Meeting Sharam
  364I                                                      Civetti
          & Chairman Brief on Two Matters
          12/12/2013-12/16/2013 re: Meeting with
  364J                                                      Civetti
          Chairman
          12/16/2013-12/17/2013 re: Meeting before
  364K                                                      Civetti
          Dinner at Chairman’s Residence
          12/31/2013 re: “Hope things are going
  364L    good in Vegas and your family is                  Civetti
          enjoying the trip.”
  364M    01/20/2014 re: Parking Proposal                   Civetti
          06/04/2014 re: Plans for Weekend for
  364N                                                      Civetti
          Vegas
  364O    06/04/2014-06/06/2014 re: Confirm Vegas           Civetti
          07/17/2014-07/26/2014 re: “Chairman
  364P    called me last night and we had a great           Civetti
          conversation.”
          08/20/2014-08/27/2014 re: “I think you
          should call Ricky to find out the
  364Q                                                      Civetti
          latest.” “Any further development?”
          “Hope you did well in LV”
          09/15/2014 re: “Hold off on asking
  364R                                                      Civetti
          Chairman.”


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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          10/15/2013-10/16/2013 re: “Can you speak
  364S                                                Civetti
          with Chairman”
          11/05/2018-11/06/2018 re: “12.5 is in.
  364T                                                Civetti
          Another 12.5 by 11/16”
          02/22/2014 re: “I am in the Chairman’s
  364U                                                Civetti
          house. Can we call you?”
          03/04/2014 re: Talk before PLUM –
  364V                                                Civetti
          Development Services Reform
  364W    08/11/2014 re: Postpone PLUM                Civetti
          09/03/2014 re: Outside Huizar’s
  364X                                                Civetti
          Residence
          10/21/2015 re: “low profile” for China
  364Y                                                Civetti
          trip
          10/17/2015 re: “talk about your upcoming
  364Z                                                Civetti
          trip”
          07/05/2015 re: “hope you are doing well
 364AA                                                Civetti
          in LV”
 364BB    10/20/2016 re: “Letter sent?”               Civetti
  365        4. Huizar – Esparza Text Messages Coversheet
                                                     Civetti;
  365A    Esparza and Huizar 12/04/2014
                                                      Esparza
                                                     Civetti;
  365B    Esparza and Huizar 03/27/2015-03/29/2015
                                                      Esparza
                                                     Civetti;
  365C    Esparza and Huizar 10/28/2015
                                                      Esparza
                                                     Civetti;
  365D    Esparza and Huizar 02/06/2016-02/17/2016
                                                      Esparza
                                                     Civetti;
  365E    Esparza and Huizar 02/28/2016
                                                      Esparza

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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
                                                     Civetti;
  365F    Esparza and Huizar 04/29/2016
                                                      Esparza
                                                     Civetti;
  365G    Esparza and Huizar 07/12/2016-07/14/2016
                                                      Esparza
          Esparza and Huizar 04/24/2015 re: May      Civetti;         MIL No. 1       Opp’n MIL       MIL No. 1 -
  365H
          2015 Vegas                                  Esparza                         No. 1           DENIED
          Esparza and Huizar 04/29/2015 re:          Civetti;         MIL No. 1       Opp’n MIL       MIL No. 1 -
  365I
          Palazzo                                     Esparza                         No. 1           DENIED
          Esparza and Huizar 05/01/2015 Esparza      Civetti;         MIL No. 1       Opp’n MIL       MIL No. 1 -
  365J
          re: Vegas Trip                              Esparza                         No. 1           DENIED
                                                     Civetti;         MIL No. 1       Opp’n MIL       MIL No. 1 -
  365K    Esparza and Huizar 01/30/2017 re: Vegas
                                                      Esparza                         No. 1           DENIED
   366       5. Huizar – Harris Chan Text Messages Coversheet
          Huizar and Harris Chan 06/21/2013-         Civetti;
  366A
          10/29/2013                                   Harris
          Huizar and Harris Chan 10/28/2013-         Civetti;
  366B
          10/29/2013                                   Harris
             6. Huizar – Virginia Clark Text Messages
   367    Huizar and Clark 07/19/2018-11/06/2018      Civetti
          10/17/2018 Email Follow-up to Text
  367A    Message re: “Richelle Huizar for City       Civetti
          Council”
             7. Huizar – Shahram Delijani Text Messages
          12/23/2013 Huizar, Shahram Delijani re:
   368                                                Civetti
          Chairman Parking
             8. Huizar – Zheng Text Messages Coversheet
   369    Huizar and Zheng 3/17/2015-3/26/2015        Civetti
          Huizar and Zheng 03/29/2015 [with                           MIL No. 1       Opp’n MIL       MIL No. 1 -
   370                                                Civetti
          Photograph]                                                                 No. 1           DENIED
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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
   371       9. Huang – Virginia Clark Text Messages Coversheet
  371A    Huang and Clark 10/06/2014 [Translated]           Civetti
  371B    Huang and Clark 07/27/2017 [Translated]   Civetti
  371C    Huang and Clark 07/25/2018 [Translated]   Civetti
   372     10. Esparza – Zheng Text Messages Coversheet
                                                    Civetti;          MIL No. 1       Opp’n MIL       MIL No. 1 -
  372A    Esparza and Zheng 02/10/2016
                                                     Esparza                          No. 1           DENIED
          Esparza and Zheng 02/26/2016 [with        Civetti;          MIL No. 1       Opp’n MIL       MIL No. 1 -
  372B
          Photograph]                                Esparza                          No. 1           DENIED
                                                    Civetti;
  372C    Esparza and Zheng 02/29/2016-03/01/2016
                                                     Esparza
                                                    Civetti;          MIL No. 1       Opp’n MIL       MIL No. 1 -
  372D    Esparza and Zheng 04/29/2016-05/03/2016
                                                     Esparza                          No. 1           DENIED
                                                    Civetti;          MIL No. 1       Opp’n MIL       MIL No. 1 -
  372E    Esparza and Zheng 05/15/2016
                                                     Esparza                          No. 1           DENIED
                                                    Civetti;
  372F    Esparza and Zheng 06/21/2016
                                                     Esparza
                                                    Civetti;
  372G    Esparza and Zheng 08/01/2016
                                                     Esparza
          Esparza and Zheng 08/04/2016-08/05/2016   Civetti;          MIL No. 1       Opp’n MIL       MIL No. 1 -
  372H
          [with Photograph]                          Esparza                          No. 1           DENIED
          Esparza and Zheng 08/07/2016 [with        Civetti;          MIL No. 1       Opp’n MIL       MIL No. 1 -
  372I
          Photographs]                               Esparza                          No. 1           DENIED
                                                    Civetti;
  372J    Esparza and Zheng 08/16/2016
                                                     Esparza
                                                    Civetti;
  372K    Esparza and Zheng 10/18/2016
                                                     Esparza


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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
                                                    Civetti;
  372L    Esparza and Zheng 10/19/2016-10/20/2016
                                                     Esparza
          Esparza and Zheng 01/29/2017-01/31/2017   Civetti; MIL No. 1                Opp’n MIL       MIL No. 1 -
  372M
          [with Photographs]                         Esparza                          No. 1           DENIED
                                                    Civetti; MIL No. 1                Opp’n MIL       MIL No. 1 -
  372N    Esparza and Zheng 02/03/2017-02/04/2017
                                                     Esparza                          No. 1           DENIED
   373      11.Esparza – Virginia Clark Text Messages Coversheet
                                                    Civetti;
  373A    Esparza and Clark 06/15/2016
                                                     Esparza
                                                    Civetti;
  373B    Esparza and Clark 08/15/2016-08/16/2016
                                                     Esparza
                                                    Civetti;
  373C    Esparza and Clark 06/16/2017-0/28/2017
                                                     Esparza
             12. Satoru Kato Text Messages
   374    Kato and Clark 09/29/2016-12/20/2016       Civetti
   375    Kato and Zheng 07/24/2016                  Civetti
          08/31/2013 Email CHAN, Esparza re:
   376                                               Civetti
          Consolidation Memo
          10/03/2013 Email CHAN, Harris Chan,
                                                    Civetti;
   377    Chris Pak re: Project Meeting & Golden
                                                      Harris
          Hills
          10/16/2013 Email CHAN, Huizar re: RFP
   378                                               Civetti
          for Fig/Pico Property
          08/04/2016 Email CHAN, Kevin Keller re:   Civetti;
   379
          Following up on Bunker Hill Project         Keller

                             C. Audio Recordings & Translations | SZNW



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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          12/19/2016 Voicemail from Virginia Clark
                                                           Civetti;
   380    to Esparza re: LA Grand Project
                                                            Esparza
          [Excerpt]
          Excerpt – Transcript [Identification
 380-T                                                      Civetti
          Only]
 380-S    Intentionally Omitted
          04/27/2017 Esparza and Zheng Recorded
                                                           Civetti;
   381    Call (GE#1396) [Excerpt] [Re: Hiring
                                                            Esparza
          Francis Park]
          Excerpt – Transcript [Identification
 381-T                                                      Civetti
          Only]
 381-S    Intentionally Omitted
          05/09/2017 Esparza and Jesse Leon
          Recorded Call (GE#3283) [Excerpt] [Re:           Civetti;
   382
          Fundraiser, Rios Election, Esparza                Esparza
          Title, FBI]
          Excerpt – Transcript [Identification
 382-T                                                      Civetti
          Only]
 382-S    Intentionally Omitted
  383     Intentionally Omitted
 383-S    Intentionally Omitted
          06/22/2017 CHAN and Chiang Recorded Call
                                                           Civetti;
   384    (GC#776) re: “Without CHAN Would Not Be
                                                            Chiang
          Here” [Identification Only]
          06/22/2017 CHAN and Chiang Recorded              Civetti;
  384A
          Call, Excerpt A                                   Chiang
          Excerpt A – Transcript [Identification
 384A-T                                                     Civetti
          Only]
 384A-S   Intentionally Omitted

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          06/22/2017 CHAN and Chiang Recorded              Civetti;
  384B
          Call, Excerpt B                                   Chiang
          Excerpt B – Transcript [Identification
 384B-T                                                     Civetti
          Only]
          09/04/2018 CHAN and Chiang Recorded
                                                           Civetti;
   385    Meeting (TL2#131) re: Huang Generous
                                                            Chiang
          [Excerpt]
          Excerpt – Transcript [Identification
 385-T                                                      Civetti
          Only]
 385-S    Intentionally Omitted                             Civetti
          10/23/2018 Chiang, Kuk Recorded Call
   386    (GC#17139) re: Huizar Settlement                  Civetti
          [Excerpt]
          Excerpt – Transcript [Identification
 386-T                                                      Civetti
          Only]
          08/24/2017 Zheng, Wang Recorded Meeting          Civetti;
   387
          re: Settlement [Identification Only]               Wang
          08/24/2017 Zheng, Wang Recorded Meeting,
                                                           Civetti;
 387A-Z   Excerpt A – Translated Transcript [Re:
                                                             Wang
          Settlement]
          08/24/2017 Zheng, Wang Recorded Meeting,
                                                           Civetti;
 387B-Z   Excerpt B – Translated Transcript [Re:
                                                             Wang
          Settlement]
          08/24/2017 Zheng, Wang Recorded Meeting,
                                                           Civetti;
 387C-Z   Excerpt C – Translated Transcript [Re:
                                                             Wang
          Settlement]
          08/24/2017 Zheng, Wang Recorded Meeting,
                                                           Civetti;
 387D-Z   Excerpt D – Translated Transcript [Re:
                                                             Wang
          Settlement]

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[388 – 389 Placeholder]

                                D. Photographs & Videos | SZNW
             1. General
          Google Maps and Images of 333 S.
   390                                                Civetti
          Figueroa St., Los Angeles, CA
          Google Maps and Images of 333 Universal
   391                                                Civetti
          Hollywood Dr.
          08/21/2014 Photograph of Zheng With
   392                                                Civetti
          Plaque
             2. Las Vegas Trips
                                                                      MIL No. 1       Opp’n MIL       MIL No. 1 -
   393    Caesar’s Palace Suite Photographs                 Civetti
                                                                                      No. 1           DENIED
                                                                      MIL No. 1       Opp’n MIL       MIL No. 1 -
   394    Cosmopolitan Suite Photographs                    Civetti
                                                                                      No. 1           DENIED
                                                                      MIL No. 1       Opp’n MIL       MIL No. 1 -
   395    Palazzo Suite Photographs                         Civetti
                                                                                      No. 1           DENIED
                                                                      MIL No. 1       Opp’n MIL       MIL No. 1 -
   396    Wynn Suite Photographs                            Civetti
                                                                                      No. 1           DENIED
                                                                      MIL No. 1       Opp’n MIL       MIL No. 1 -
   397    Wynn Surveillance Video Room Photograph           Civetti
                                                                                      No. 1           DENIED
          03/25/2013 – Vegas Trip #1 – Photograph          Civetti;   MIL No. 1       Opp’n MIL       MIL No. 1 -
   398
          of Esparza and Zheng Outside Jet                  Esparza                   No. 1           DENIED
          01/02/2014 – Vegas Trip #2 – Photograph          Civetti;   MIL No. 1       Opp’n MIL       MIL No. 1 -
   399
          of Esparza and Zheng Outside Jet                  Esparza                   No. 1           DENIED
          06/14/2014 – Vegas Trip #4 – Palazzo             Civetti;   MIL No. 1       Opp’n MIL       MIL No. 1 -
   400
          Screenshot re: Gambling Table                     Esparza                   No. 1           DENIED


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          06/14/2014 – Vegas Trip #4 – Palazzo                        MIL No. 1                       MIL No. 1 -
                                                           Civetti;                   Opp’n MIL
   401    Video re: Huang Passes Huizar Casino                                                        DENIED
                                                            Esparza                   No. 1
          Chips
          06/14/2014 – Vegas Trip #4 – Palazzo                        MIL No. 1       Opp’n MIL       MIL No. 1 -
                                                           Civetti;
   402    Video re: Huang Passes Huizar Additional                                    No. 1           DENIED
                                                            Esparza
          Casino Chips
          06/14/2014 – Vegas Trip #4 – Palazzo                        MIL No. 1       Opp’n MIL       MIL No. 1 -
                                                           Civetti;
   403    Video re: Huang Passes Esparza Casino                                       No. 1           DENIED
                                                            Esparza
          Chips
          07/08/2015 – Vegas Trip #9 – Video Clip          Civetti;   MIL No. 1       Opp’n MIL       MIL No. 1 -
   404
          re: PEP Form Approach                             Esparza                   No. 1           DENIED
          05/15/2016 – Vegas Trip #16 – Photo of           Civetti;   MIL No. 1       Opp’n MIL       MIL No. 1 -
   405
          Esparza and Zheng Poolside                        Esparza                   No. 1           DENIED
          05/15/2016 – Vegas Trip #16 – Photograph                    MIL No. 1       Opp’n MIL       MIL No. 1 -
   406                                                      Civetti
          of Suite                                                                    No. 1           DENIED
          05/16/2016 – Vegas Trip #16 – Photograph         Civetti;   MIL No. 1       Opp’n MIL       MIL No. 1 -
   407
          of Esparza at Nightclub                           Esparza                   No. 1           DENIED
          08/05/2016 – Vegas Trip #18 – Screenshot                    MIL No. 1                       MIL No. 1 -
                                                           Civetti;                   Opp’n MIL
   408    of Esparza, Zheng, Huang, Huizar at                                                         DENIED
                                                            Esparza                   No. 1
          Gambling Table
          08/05/2016 – Vegas Trip #18 – Photograph         Civetti;   MIL No. 1       Opp’n MIL       MIL No. 1 -
   409
          of Esparza Eating with Wine Bottle                Esparza                   No. 1           DENIED
          08/07/2016 – Vegas Trip #18 – Photograph         Civetti;   MIL No. 1       Opp’n MIL       MIL No. 1 -
   410
          of Esparza and Zheng Outside Jet                  Esparza                   No. 1           DENIED
          08/07/2016 – Vegas Trip #18 – Photograph         Civetti;   MIL No. 1       Opp’n MIL       MIL No. 1 -
   411
          of Zheng Inside Jet                                Zheng                    No. 1           DENIED
          08/07/2016 – Vegas Trip #18 – Photograph         Civetti;   MIL No. 1       Opp’n MIL       MIL No. 1 -
   412
          of Esparza Inside Jet                             Esparza                   No. 1           DENIED


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          08/06/2016 – Vegas Trip #18 –                               MIL No. 1       Opp’n MIL       MIL No. 1 -
                                                           Civetti;
   413    Cosmopolitan Video – Esparza Cashes Out                                     No. 1           DENIED
                                                            Esparza
          $1,200
          08/06/2016 - Vegas Trip #18 –                               MIL No. 1       Opp’n MIL       MIL No. 1 -
   414    Cosmopolitan Video – Huizar Cashes Out            Civetti                   No. 1           DENIED
          $2,000
          08/06/2016 – Vegas Trip #18 –                               MIL No. 1       Opp’n MIL       MIL No. 1 -
   415    Cosmopolitan Video – Huizar Cashes Out            Civetti                   No. 1           DENIED
          $3,000
          08/06/2016 – Vegas Trip #18 –                               MIL No. 1       Opp’n MIL       MIL No. 1 -
   416    Cosmopolitan Video – Huizar Cashes Out            Civetti                   No. 1           DENIED
          $4,000
          08/06/2016 – Vegas Trip #18 –                               MIL No. 1       Opp’n MIL       MIL No. 1 -
   417    Cosmopolitan Video – Huizar Cashes Out            Civetti                   No. 1           DENIED
          $2,000
          02/04/2017 – Vegas Trip #20 –                    Civetti;     MIL No. 1     Opp’n MIL       MIL No. 1 -
   418    Cosmopolitan Video – Esparza, Huizar,            Esparza;                   No. 1           DENIED
          Zheng, Huang at Gambling Table                     Zheng
   419    Intentionally Omitted

                                  E. Travel Benefit Records | SZNW
             1. Las Vegas
                                                                        MIL No. 1     Opp’n MIL       MIL No. 1 -
   420    08/05/2016 Cosmopolitan Records                   Civetti
                                                                                      No. 1           DENIED
                                                                        MIL No. 1     Opp’n MIL       MIL No. 1 -
   421    02/03/2017 Cosmopolitan Records                   Civetti
                                                                                      No. 1           DENIED




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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
             2. Australia
          12/24/2015 Email Esparza, Zheng Fwd:
                                                           Civetti;
   422    Huizar Review your Sydney, Australia
                                                            Esparza
          [with Attachments]
          12/24/2015 Email Esparza, Zheng Fwd:             Civetti;
   423    George Edward Esparza, Review your               Esparza;
          Sydney Australia [with attachments]                Zheng
          01/10/2016 Flight Confirmation from
   424    Corporate Travel Management re: Gold              Civetti
          Coast [Identification Only]
          02/08/2016 Australian Money and Schedule         Civetti;
   425
          Photograph                                        Esparza
          02/08/2016 Foreign Currency Express Form         Civetti;
   426
          Photograph                                        Esparza
          02/09/2016 Receipt and Money of Currency         Civetti;
   427
          Exchange Photograph                               Esparza
                                                           Civetti;
   428    02/09/2016 Currency Exchange Photograph
                                                            Esparza
             3. Pebble Beach
          08/10/2018 Chrysler Aviation – Pebble
   429                                                      Civetti
          Beach Manifest

[430-439 Placeholder]

                                 F. Godoy Lawsuit Documents | SZNW
             1. General
          Francine Godoy v. City of LA Case Docket
   440                                                      Civetti
          (BC524640) (10/17/13-10/01/14)
   441    08/23/2013 Godoy Letter to Huizar                 Civetti
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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          08/12/2014 Grace Luck Holdings Company
   442                                                Civetti
          Resolution
          08/15/2014 Grace Luck and Guodi Sun Fee
   443                                                Civetti
          Agreement
          08/15/2014 Executed Promissory Note
   444                                                Civetti
          Huizar and Yan
          08/21/2014 Grace Luck Wire Authorization
   445                                                Civetti
          to Guodi Sun
   446    CA Bar Search                               Civetti
             2. Emails & Communications – Godoy Lawsuit Settlement
          08/10/2014 Email Huizar, Esparza, Zheng, Civetti;
   447    Henry Yong re: Promissory Note [with       Esparza;
          attachment]                                  Zheng
                                                     Civetti;
          08/17/2014 Email Huizar, Esparza, Zheng,
   448                                               Esparza;
          Henry Yong re: Settlement Deadline
                                                       Zheng
                                                     Civetti;
          08/21/2014 Email Huizar, Esparza, Zheng,
   449                                               Esparza;
          Henry Yong Fwd: Wiring [with attachment]
                                                       Zheng
          09/03/2014 Email Huizar, Esparza, Henry    Civetti;
   450    Yong re: Promissory Note [with             Esparza;
          attachment]                                  Zheng
          09/03/2014 Email Huizar, Esparza, Zheng    Civetti;
   451    Henry Yong re: American Plus Bank Loan     Esparza;
          Application Docs                             Zheng
          09/24/2014 Huizar, Verita from East West
   452                                                Civetti
          Bank re: Outgoing wire



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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          09/29/2014 Email Yan, Henry Yong re:
                                                           Civetti;
   453    Retainer Agreement and Promissory Note
                                                              Yan
          [with attachments]
                                                     Civetti;
          12/17/2014 Email Esparza, Zheng re: Fwd:
   454                                               Esparza;
          Foreign Address
                                                       Zheng
          12/05/2018 Email Zheng, Max Chang re:      Civetti;
   455
          Fwd: Foreign Address                         Zheng
          09/08/2014 Email Huizar, Henry Yong re:    Civetti;
   456
          Grace Luck Holdings Corporate Resolution     Zheng
                                                     Civetti;
          10/03/2017 Email Esparza, Zheng Fwd:
   457                                               Esparza;
          Letter of Authorization
                                                       Zheng
                                                     Civetti;
          10/03/2017 Email Esparza, Zheng Fwd:
   458                                               Esparza;
          Promissory Note
                                                       Zheng
          04/25/2018 Email Zheng, Henry Yong Fwd:    Civetti;
   459
          Letter of Authorization                      Zheng
             3. Financial Records – Godoy Lawsuit Settlement
          08/21/2014 Guodi Sun Chase Account
   460                                                Civetti
          Statement
          09/22/2014 East West Bank $600,000 Check
   461                                                Civetti
          and Deposit Slip (Guodi Sun)
          09/23/2014 East West Bank Note, Security
   462                                                Civetti
          Agreement and Disclosure Statement
          Oct. 2014 East West Bank Statement (Jose
   463                                                Civetti
          Huizar)
          12/12/2018 East West Bank Payoff
   464                                                Civetti
          Statement, Default Letter

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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          Walsh & Associates Wells Fargo
   465                                                      Civetti
          Statements (Sept.-Dec. 2014)
          Walsh & Associates (Wells Fargo x7209)
   466                                                      Civetti
          Wires and Offsets (Sept.-Dec. 2014)
          Walsh & Associates Checks (Sept. 2014-
   467                                                      Civetti
          Jan. 2015)

                               G. City Records – Consolidation
          05/29/2013 PLUM Approval of Englander
   468                                               Civetti
          Motion re: Consolidation
          09/17/2013 Price/LaBonge Motion re:
   469                                               Civetti
          Postpone Consolidation
          10/11/2013 PLUM Letter to Budget &
   470    Finance Committee re: 10/08/2013 PLUM      Civetti
          Action to Postpone Consolidation
          11/06/2013 City Council Approval
   471    PLUM/B&F Recommendations re: Postpone      Civetti
          Consolidation
          12/11/2013 PLUM & City Council Approval
   472    re: Employment Authority Jan. 2014 –       Civetti
          June 2014
          04/02/2014 PLUM & City Council Approval
   473    re: Establish Division of Authority        Civetti
          LADBS & DCP
          06/18/2014 City Council Approval re:
   474    Fund Transfer Development Services         Civetti
          Reform
          08/26/2014 PLUM Approval re: Development
   475                                               Civetti
          Services Reform

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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          08/27/2014 City Council Approval re:
   476                                                      Civetti
          Development Services Reform

[477 – 499 Placeholder]

                             3 | HAZENS (LUXE HOTEL PROJECT)
                                A. Background & City Records
   500    Hazens Articles of Incorporation           Civetti
   501    Luxe Hotel Project Renderings              Civetti
          03/26/2015 Case Information Los Angeles   Civetti;
   502
          City Planning (Luxe Hotel)                  Keller
          03/26/2015 Entitlement Application (Luxe Civetti;
   503
          Hotel)                                      Keller
          01/09/2016 BOE to DCP Letter re: Luxe     Civetti;
   504
          Hotel                                       Keller
          06/14/2016 DOT to DCP Letter re: Luxe     Civetti;
   505
          Hotel                                       Keller
                                                    Civetti;
   506    11/22/2016 Hazens TOT Motion               Keller;
                                                      Chiang
                                                     Civetti
   507    12/13/2016 Hazens TOT Approval             Keller;
                                                      Chiang
          12/08/2016 LADBS to DCP Letter re: Luxe   Civetti;
   508
          Hotel                                       Keller
          01/17/2017 LADWP to DCP Letter re: Luxe   Civetti;
   509
          Hotel                                       Keller
          04/10/2017 Dept. Rec & Parks to DCP       Civetti;
   510
          Letter re: Luxe Hotel                       Keller
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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          04/17/2017 DOT to DCP Letter re: Luxe            Civetti;
   511
          Hotel                                              Keller
          04/24/2017 Fire Dept. to DCP Letter re:          Civetti;
   512
          Luxe Hotel                                         Keller
          04/27/2017 DOT to DCP Letter re: Luxe            Civetti;
   513
          Hotel                                              Keller
                                                            Civetti
          09/01/2017 Resolution re: Hazens Luxe
   514                                                      Keller;
          Hotel TFAR
                                                             Chiang
                                                           Civetti;
   515    09/14/2017 Hazens CPC Meeting Agenda
                                                             Keller
                                                           Civetti;
   516    09/14/2017 Hazens CPC Meeting Minutes
                                                             Keller
                                                           Civetti;
   517    12/05/2017 Hazens PLUM Approval                   Keller;
                                                             Chiang
                                                           Civetti;
   518    12/13/2017 Hazens City Council Approval           Keller;
                                                             Chiang
                                                           Civetti;
          03/09/2018 PLUM Resolution re: Hazens
   519                                                      Keller;
          Luxe Hotel Project
                                                             Chiang
                                                           Civetti;
          03/21/2018 City Council Resolution re:
   520                                                      Keller;
          Hazens Luxe Hotel Project
                                                             Chiang
                                                           Civetti;
          06/12/2018 City Council Approval re:
   521                                                      Keller;
          Sign District (Luxe Hotel)
                                                             Chiang


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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
                                                           Civetti;
          06/12/2018 City Council Approval re:
   522                                                      Keller;
          Development Agreement (Luxe Hotel)
                                                             Chiang
                                                           Civetti;
          06/20/2018 Development Agreement
   523                                                      Keller;
          Ordinance – Final (Luxe Hotel)
                                                             Chiang
          05/24/2017 Hazens Public Hearing and             Civetti;
   524
          Communications                                     Keller
                                                           Civetti;
                                                            Keller;
   525    Google Maps of 1020 S. Figueroa St.
                                                            Chiang;
                                                             Ambroz

[526 – 529 Placeholder]

                               B. Records & Correspondence | Hazens
             1. General
          01/24/2014 Email CHAN, Chiang re: New            Civetti;
   530
          Year Celebration & Greg Sun Meeting                Chiang
          03/18/2014 Email CHAN and Esparza re:            Civetti;
   531
          Hazens Introduction                               Esparza
          08/21/2014 Email Huizar, Greg Sun, Lulu
   532                                                      Civetti
          Ji re: Luxe Hotel ADA Assistance
          08/26/2014 Email Huizar, Greg Sun, Lulu
   533                                                      Civetti
          Ji re: ADA Assistance Thank You
          09/20/2014 Email and Attachment, Huizar
                                                           Civetti;
   534    and Esparza re: Katy Perry Concert
                                                            Esparza
          Tickets from Hazens


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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          10/16/2014 CHAN Document with List of
  534A    “Chinese Companies” Attending Chinese             Civetti
          Consul General Reception
          10/18/2014 Email Jeremy Chan, Chiang,
  534B                                                      Chiang
          Chris Pak re: Business Cards
                                                           Civetti;
          11/04/2014 Email Esparza, Chiang re:
   535                                                     Esparza;
          Hazens Pledging Their Support
                                                            Chiang
          11/26/2014 Calendar Invite Confirmation
   536    re: Dinner Huizar and Hazens Chairman             Civetti
          Yuan
          08/02/2015 Email CHAN, Chiang re:                Civetti;
   537
          LoGrande Email for Luxe Hotel TFAR                Chiang
          08/03/2015 Email Huizar, Chiang re:              Civetti;
   538
          LoGrande Email for Luxe Hotel TFAR                Chiang
          08/03/2015 Email Huizar, LoGrande re:
   539                                                      Civetti
          Luxe Hotel TFAR
          09/26/2015 Email CHAN, Chiang re:                Civetti;
   540
          Mayor’s Office Letter w/ Attachment               Chiang
          09/26/2015 Email CHAN, Chiang re:
                                                           Civetti;
   541    Mayor’s Office Letter (Response) w
                                                            Chiang
          Attachment
          10/26/2015 Email CHAN, Chiang re: Huizar         Civetti;
   542
          Upset with Hazens                                 Chiang
          11/16/2015 Email Esparza, Chiang, Greg           Civetti;
   543    Sun re: Common Consensus and Full Speed          Esparza;
          re: Luxe Hotel Project                            Chiang
          03/16/2016 Email CHAN, Chiang re: Hazens         Civetti;
   544
          Meeting                                           Chiang

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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          03/17/2016 Email CHAN, Chiang re:                Civetti;
   545
          Updates                                           Chiang
          09/28/2016 Email CHAN, Chiang, Jeremy            Civetti;
   546
          re: Updates                                       Chiang
          01/02/2017 Email CHAN, Chiang, Jeremy
                                                           Civetti;
   547    Chan Attaching Roster Sheet Titled
                                                            Chiang
          “People Who Influence the Project”
          01/05/2017 Email CHAN, Chiang re: Fuer           Civetti;
   548
          Yuan (Hazens) Meeting                              Chiang
          01/17/2017 Email CHAN, Chiang re: Hazens         Civetti;
   549
          Timeline w/ Attachments                            Chiang
          01/18/2017 Email CHAN, Chiang, Jeremy            Civetti;
   550
          re: Hazens Timeline w/ Attachments                 Chiang
          01/21/2017 Synergy/Hazens Consulting             Civetti;
   551
          Agreement                                          Chiang
          10/11/2017 Amendment to 01/27/2017               Civetti;
  551A
          Synergy/Hazens Consulting Agreement                Chiang
          11/01/2014 Synergy/Hazens Consulting             Civetti;
  551B
          Agreement                                          Chiang
          03/13/2016 Amendment to 11/01/2014               Civetti;
  551C
          Synergy/Hazens Consulting Agreement                Chiang
          01/26/2017 Email CHAN, Chiang re: Keller         Civetti;
   552
          Update                                             Chiang
          03/21/2017 Email CHAN Chiang, Jeremy,            Civetti;
   553
          Lee re: Hazens Update                              Chiang
                                                           Civetti;
   554    09/14/2017 Hazens CPC Presentation                Chiang;
                                                             Ambroz


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                                                           Civetti;
   555    09/17/2017 Post CPC Document
                                                            Chiang
          03/05/2017 Email Chiang, Jeremy Chan,
   556    Lincoln Lee with Attachments re Updated           Civetti
          Documents (EIR, Tract, Project Timeline)
          03/11/2017 Email Chiang, Jeremy Chan,
   557    Lincoln Lee with Attachments re Updated           Civetti
          Documents (EIR, Tract, Project Timeline)

[558 – 559 Placeholder]

             2. Documents Related to Benefits
          12/13/2015 Flight Record re: Jenny Wu
   560                                                      Civetti
          Travel from Vancouver to Los Angeles
          05/10/2016 Consulting Agreement between
   561                                                      Civetti
          Jenny Wu and Paradigm
          06/08/2016 Email with Desiree Gonzales,
          Ernest Camacho, Jenny Wu re: Executed
   562                                                      Civetti
          Agreement, May 2016 Invoice and Monthly
          Real Estate Opportunity Report
          06/15/2016 Email with Jenny Wu and
   563                                                      Civetti
          Desiree Gonzales re: Wire Transfer
          06/08/2016 Invoice and May Real Estate           Civetti;
   564
          Report                                            Chiang
          07/14/2016 Invoice and June Real Estate
   565                                                      Civetti
          Report
          08/11/2016 Invoice and July Real Estate          Civetti;
   566
          Report                                            Chiang


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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          09/09/2016 Invoice and August Real               Civetti;
   567
          Estate Report                                     Chiang
          10/14/2016 Invoice and September Real            Civetti;
   568
          Estate Report                                     Chiang
          11/23/2016 Invoice and October Real              Civetti;
   569
          Estate Report                                     Chiang
          08/12/2016 Email Gonzales, Wu re:                Civetti;
   570
          Payment                                           Chiang
          04/07/2017 Email Huizar, Chiang re:
                                                           Civetti;
   571    China Flight Information for Huizar’s
                                                            Chiang
          Family
          04/19/2017 Receipt of Meal Paid by
   572    Hazens for Huizar in China                        Civetti
          [Identification Only]
          04/20/2017 Receipt of Meal Paid by
   573    Hazens for Huizar in China                        Civetti
          [Identification Only]
          04/27/2017 Ticket Confirmation and               Civetti;
   574
          Receipts for the Weeknd Concert                   Chiang
          04/28/2017 Receipt of Meal Paid by
   575    Hazens for Huizar in China                        Civetti
          [Identification Only]
          06/19/2017 Email with Huizar and Chiang          Civetti;
   576
          re: Kendrick Lamar Tickets                        Chiang
   577    Union Bank Statements (Paradigm)                 Civetti
             3. CHAN Calendar Entries
   578    07/24/2017 Re: 1020 Fig (Hazens)                  Civetti
          09/06/2017 CHAN Calendar Entry re: 1020
   579                                                      Civetti
          Fig (Hazens)

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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          10/17/2017-11/17/2018 CHAN Calendar
   580                                                      Civetti
          Entries re: Hazens
          11/03/2017 CHAN Calendar Entry re: 1020
   581                                                      Civetti
          Fig (Hazens)
                                                           Civetti;
          03/22/2017 Four Lakers Tickets ($630) –
   582                                                      Chiang;
          Purchased by Chiang
                                                              Kuk

[583 – 589 Placeholder]

                                  C. Text Messages | Hazens
   590    1. CHAN – Huizar Text Message Cover Page
          08/27/2014 Huizar and CHAN re: ADA Issue
  590A                                                Civetti
          for Luxe Hotel
          11/04/2014 Huizar and CHAN re: Dinner
  590B                                                Civetti
          with Chairman Yuan
          09/07/2015 Huizar, CHAN, Chiang re:
                                                     Civetti;
  590C    Standing Hazens Planning Meeting and
                                                       Chiang
          “chairman is beginning to feel weary”
          08/04/2015 Huizar and CHAN re: email for
  590D                                                Civetti
          “MG”
          11/11/2015 Huizar and CHAN re: pre-
  590E                                                Civetti
          meeting for China Red Dinner
          11/24/2015 Huizar and CHAN re: briefing
  590F                                                Civetti
          about Yuan
          05/22/2018 Huizar and CHAN re: “Friday’s
  590G                                                Civetti
          discussion has been confirmed”
          09/25/2018 Huizar and CHAN re: “talk
  590H                                                Civetti
          fundraising for Richelle”

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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
   591    2. CHAN – Chiang Text Messages (2014 – 2016)
          10/17/2014 CHAN, Chiang, Jeremy Chan,      Civetti;
  591A
          Chris Pak re: Hazens Meeting                 Chiang
          09/24/2015 CHAN, Chiang, Jeremy Chan re: Civetti;
  591B
          Hazens GPA                                   Chiang
          10/13/2015 CHAN, Chiang, Jeremy Chan re: Civetti;
  591C
          TFAR                                         Chiang
          05/25/2016 CHAN, Chiang re: Huizar,        Civetti;
  591D
          Wesson, Hazens Dinner                        Chiang
          05/31/2016 CHAN, Chiang re: Chairman       Civetti;
  591E
          Yuan Dinner                                  Chiang
          10/04/2016 CHAN, Chiang re: Chairman       Civetti;
  591F
          Yuan Dinner                                  Chiang
                                                     Civetti;
          12/16/2015 CHAN, Chiang, Keller re: Yuan
  591G                                                Chiang;
          Meeting
                                                       Keller
   592    3. CHAN – Chiang Text Messages (Jan. – Jun. 2017)
          01/02/2017 CHAN, Chiang, Jeremy Chan re: Civetti;
  592A
          Hazens Proposal                              Chiang
          01/11/2017 CHAN, Chiang re: Huizar,        Civetti;
  592B
          Chairman Yuan, Dinner                        Chiang
          01/13/2017 CHAN and Chiang re: City        Civetti;
  592C
          Approvals for Luxe Hotel Project             Chiang
          01/16/2017 CHAN, Chiang, Jeremy Chan re: Civetti;
  592D
          Hazens Retainer Agreement                    Chiang
          01/26/2017 CHAN, Chiang, Lincoln Lee re: Civetti;
  592E
          Meeting with Chairman Yuan                   Chiang
                                                     Civetti;
  592F    01/29/2017 CHAN, Chiang, Lee re: Meeting
                                                       Chiang

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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          02/01/2017 CHAN, Chiang, Lee re: Yuan            Civetti;
  592G
          and Keller Dinner                                 Chiang
          02/01/2017 CHAN, Chiang, Lee, Keller re:         Civetti;
  592H
          Dinner                                            Chiang
                                                           Civetti;
  592I    02/03/2017 CHAN, Chiang re: Yuan Meeting
                                                            Chiang
          02/03/2017 CHAN, Chiang re: “Meeting             Civetti;
  592J
          with Chairman Was Good”                           Chiang
          02/06/2017 CHAN, Chiang re: Hazens               Civetti;
  592K
          Contract                                          Chiang
          02/08/2017 CHAN, Chiang, Lincoln Lee re:         Civetti;
  592L
          Standing Meeting with CHAN for Hazens             Chiang
          02/08/2017 CHAN, Chiang, Lee, Keller re:         Civetti;
  592M
          Dinner                                            Chiang
          02/20/2017 CHAN, Chiang, Jeremy Chan,            Civetti;
  592N
          Lincoln Lee re: Chairman Yuan Meeting             Chiang
          02/27/2017 CHAN, Chiang, Jeremy Chan re:         Civetti;
  592O
          John Chiang Fundraiser                            Chiang
          03/06/2017 CHAN, Chiang, Jeremy Chan re:         Civetti;
  592P
          Rios License                                      Chiang
          03/12/2017 CHAN, Chiang, Jeremy Chan re:         Civetti;
  592Q
          CHAN Project Lead                                 Chiang
          03/13/2017 CHAN, Chiang, Lee, Jeremy re:         Civetti;
  592R
          Pressure                                          Chiang
          03/28/2017 CHAN, Chiang, Jeremy Chan,            Civetti;
  592S
          Lincoln Lee re: Hazens Monthly Payment            Chiang
          04/06/2017 CHAN, Chiang re: Hazens Tract         Civetti;
  592T
          Map and Water Division                            Chiang


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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          01/19/2017 Chiang, Jeremy Chan re: “good   Civetti;
  592U
          think we’re making decent money haha”        Chiang
                                                     Civetti;
          01/15/2016 CHAN, Chiang, Keller, Sun re:
  592V                                                Chiang;
          EIR
                                                       Keller
   593    4. CHAN – Chiang Text Messages (Jul. – Dec. 2017)
                                                     Civetti;
  593A    08/11/2017 CHAN, Chiang re: Yuan Meeting
                                                       Chiang
          08/11/2017 CHAN, Chiang, Lee re: Yuan      Civetti;
  593B
          Meeting                                      Chiang
                                                     Civetti;
  593C    08/18/2017 CHAN, Chiang re: Motion
                                                       Chiang
                                                     Civetti;
  593D    08/19/2017 CHAN, Chiang re: 1 Pager
                                                       Chiang
          08/29/2017 CHAN, Chiang re: Huizar         Civetti;
  593E
          Motion for Hazens                            Chiang
          09/14/2017 CHAN, Chiang re: Hazens         Civetti;
  593F
          Paycheck                                     Chiang
          09/14/2017 CHAN, Jeremy Chan re:
  593G                                                Civetti
          Milestone & Payment
          10/10/2017 CHAN, Chiang, Jeremy Chan re: Civetti;
  593H
          Hazens Contract                              Chiang
          12/19/2017 CHAN, Chiang re: Pickup up      Civetti;
  593I
          Our Check Post Council Vote                  Chiang
          08/28/2017 CHAN, Chiang re: “Jose gave
                                                     Civetti;
  593J    clear instructions for Shawn and Paul to
                                                       Chiang
          Proceed tomorrow.”



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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
   594    5. CHAN – Chiang Text Messages (2018)
          01/16/2018 CHAN and Chiang re: Huizar            Civetti;
  594A
          and Chairman Yuan Meeting                          Chiang
          05/31/2018 CHAN and Chiang re: Hazens            Civetti;
  594B
          Development Agreement                              Chiang
                                                           Civetti;
          06/20/2018 CHAN, Chiang, Yan Yan re:
  594C                                                      Chiang;
          Hazens Development Agreement Signed
                                                               Yan
          08/04/2018 CHAN and Chiang re: Chairman          Civetti;
  594D
          Yuan Conversation                                  Chiang
          08/24/2018 CHAN and Chiang re: Chairman          Civetti;
  594E
          Yuan Development Agreement Report                  Chiang
          6. Huizar – Camacho Text Messages
          04/12/2014 Huizar and Ernie Camacho re:
   595                                                Civetti
          Hazens
   596    7. Huizar – Chiang Text Messages (2015 – 2016)
                                                     Civetti;
  596A    02/06/2015 Huizar and Chiang re: Hazens
                                                       Chiang
          04/09/2015 Huizar and Chiang re: Hazens    Civetti;
  596B
          and Salesian                                 Chiang
                                                     Civetti;
  596C    08/17/2015 Huizar and Chiang re: Hazens
                                                       Chiang
          09/08/2015 Huizar and Chiang re:           Civetti;
  596D
          Planning Meeting                             Chiang
                                                     Civetti;
  596E    11/23/2015 Huizar and Chiang re: Meeting
                                                       Chiang
          12/02/2015 Huizar and Chiang re: “Any      Civetti;
  596F
          Response from Chairman?”                     Chiang


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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          12/08/2015 Huizar and Chiang re: Meeting         Civetti;
  596G
          Request                                           Chiang
                                                           Civetti;
  596H    12/14/2015 Huizar and Chiang re: Meeting
                                                            Chiang
          12/15/2015 Huizar and Chiang re: Rios            Civetti;
  596I
          Meeting                                           Chiang
                                                           Civetti;
  596J    01/14/2016 Huizar and Chiang re: Meeting
                                                            Chiang
          02/25/2016 Huizar, Chiang re: Meeting –          Civetti;
  596K
          Los Antonitos                                     Chiang
          03/10/2017 Huizar and Chiang re: China           Civetti;
  596L
          Trip                                              Chiang
          04/11/2016 Huizar and Chiang re: “How is
                                                           Civetti;
  596M    Richelle Agreement going? Has everything
                                                            Chiang
          been set up with Ernie?”
          04/19/2016 Huizar and Chiang re: Meeting         Civetti;
  596N
          with Greg Sun on Rios Update                      Chiang
          04/26/2016 Huizar and Chiang re: Meeting         Civetti;
  596O
          Every Two Weeks                                   Chiang
          05/30/2016 Huizar and Chiang re: “When           Civetti;
  596P
          can we get report”                                Chiang
          07/01/2016 Huizar and Chiang re: Meeting         Civetti;
  596Q
          for Coffee                                        Chiang
          08/01/2016 Huizar and Chiang re: Meeting         Civetti;
  596R
          at Restaurant                                     Chiang
          09/02/2016 Huizar and Chiang re: Meeting         Civetti;
  596S
          at Coffee Shop                                    Chiang
          10/04/2016 Huizar and Chiang re: Meeting         Civetti;
  596T
          at Huizar’s Residence                             Chiang

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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          11/03/2016 Huizar and Chiang re: Meeting         Civetti;
  596U
          at Coffee Shop                                    Chiang
          12/12/2016 Huizar and Chiang re: Meeting         Civetti;
  596V
          with Greg Sun                                     Chiang
                                                           Civetti;
  596W    12/13/2016 Huizar and Chiang re: Golf
                                                            Chiang
   597    8. Huizar – Chiang Text Messages (2017)
          02/09/2017 Huizar and Chiang re: China           Civetti;
  597A
          Trip                                              Chiang
          02/21/2017 Huizar and Chiang re: China           Civetti;
  597B
          Trip and Visas                                    Chiang
          03/29/2017 Huizar and Chiang re:                 Civetti;
  597C
          Passport Coordination                             Chiang
          04/15/2017 Huizar and Chiang re: Meeting         Civetti;
  597D
          in Person                                         Chiang
          04/16/2017 Huizar and Chiang re: China           Civetti;
  597E
          Trip                                              Chiang
          05/13/2017 Huizar and Chiang re: Two             Civetti;
  597F
          Towers versus Three Towers                        Chiang
          05/15/2017 Huizar and Chiang re: Huizar          Civetti;
  597G
          Approves Two-Tower Plan                           Chiang
          06/13/2017 Huizar and Chiang re: Coast           Civetti;
  597H
          Clear                                             Chiang
          06/15/2017 Huizar and Chiang re: Concert         Civetti;
  597I
          Tickets                                           Chiang
          07/19/2017 Huizar and Chiang re: Meeting         Civetti;
  597J
          to Plan for 09/14/17 CPC Meeting                  Chiang
          08/24/2017 Huizar and Chiang re: Hazens          Civetti;
  597K
          Motion for TFAR                                   Chiang

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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          09/01/2017 Huizar and Chiang re: Huizar          Civetti;
  597L
          “got the motion in today”                         Chiang
          09/13/2017 Huizar and Chiang re: Hazens          Civetti;
  597M
          CPC Hearing                                       Chiang
          09/14/2017 Huizar and Chiang re: Motion
                                                           Civetti;
  597N    Passed, “make sure: u tell chairman that
                                                            Chiang
          we were helpful”
          09/21/2017 Huizar and Chiang re: CRA,            Civetti;
  597O
          TOT, Yuan Meeting                                 Chiang
                                                           Civetti;
  597P    10/24/2017 Huizar and Chiang re: Meeting
                                                            Chiang
          10/29/2017 Huizar and Chiang re: Meeting         Civetti;
  597Q
          at City Hall                                      Chiang
          11/17/2017 Huizar and Chiang re: PLUM            Civetti;
  597R
          Date                                              Chiang
   598    9. Huizar – Chiang Text Messages (2018)
          01/12/2018 Huizar and Chiang re:                 Civetti;
  598A
          01/24/2018 Dinner with Chairman Yuan              Chiang
          02/12/2018 Huizar and Chiang re:
                                                           Civetti;
  598B    “Christina fundraiser for PAC will call
                                                            Chiang
          u today”
          03/12/2018 Huizar and Chiang re: City            Civetti;
  598C
          Hall Meeting                                      Chiang
          03/29/2018 Huizar, Chiang re Meeting at          Civetti;
  598D
          Huizar’s Residence                                Chiang
          04/20/2018 Huizar and Chiang re: Meeting         Civetti;
  598E
          at Huizar’s House on 4/23/18                      Chiang
          05/14/2018 Huizar and Chiang re: Meeting         Civetti;
  598F
          with Chan                                         Chiang

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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          06/18/2018 Huizar and Chiang re: “when
                                                           Civetti;
  598G    is the chairman coming to town? We need
                                                            Chiang
          to finalized PAC stuff”
          07/23/2018 Huizar and Chiang re: Huizar
                                                           Civetti;
  598H    Wants to Talk to Chairman about Richelle
                                                            Chiang
          Rios Campaign
          10/08/2018 Huizar and Chiang re: Meeting         Civetti;
  598I
          at Huizar’s House on 10/16/18                     Chiang
          10. Huizar – Fuer Yuan Text Messages
          06/12/2018 Huizar to Chairman Yuan re:
   599    Congratulations, Development Agreement            Civetti
          Approved Today
   600    11. Esparza - Chiang Text Messages
          04/26/2017 Esparza and Chiang re: Boss           Civetti;
  601A    Needs Four Tickets to the Weeknd Concert         Esparza;
          this Weekend                                      Chiang
                                                           Civetti;
          05/19/2017 Esparza and Chiang re:
  601B                                                     Esparza;
          Meeting
                                                            Chiang
                                                           Civetti;
          09/12/2017 Esparza and Chiang re: CPC
  601C                                                     Esparza;
          Approval
                                                            Chiang
          12.   Chiang – Richelle Rios Text Messages
                                                           Civetti;
          12/16/2015 Chiang and Rios re: Meeting
   602                                                      Chiang;
          with Chairman Yuan’s Relative
                                                              Rios
   603    13. Chiang – Greg Sun Text Messages
          11/10/2015 Chiang and Greg Sun re: China         Civetti;
  603A
          Red Dinner, Huizar and Chairman Yuan              Chiang

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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          11/16/2015 Chiang and Greg Sun re:
                                                           Civetti;
  603B    Huizar Golf and Meeting with
                                                            Chiang
          CHAN/Chairman
          12/13/2015 Chiang and Greg Sun re: Lunch         Civetti;
  603C
          Meeting at Luxe with CHAN and Keller              Chiang
          01/14/2016 Chiang and Greg Sun re:               Civetti;
  603D
          Hazens Bi-Weekly Meetings                         Chiang

[604 – 609 Placeholder]

                         D. Audio Recordings & Translations | Hazens
          05/03/2017 Huizar and Chiang Recorded
          Call (JH#1017) [Excerpt] [Re: Hazens       Civetti;
   610
          Package for CPC & Don’t Tell Huang About     Chiang
          China]
          Excerpt – Transcript
 610-T                                                Civetti
          [Identification Only]
                                                     Civetti;
          05/10/2017 Esparza and Chiang Recorded
   611                                               Esparza;
          Call (GE#3410) [Identification Only]
                                                       Chiang
          05/10/2017 Esparza and Chiang Recorded     Civetti;
  611A
          Call, Excerpt A                              Chiang
          Excerpt A - Transcript [Identification
 611A-T                                               Civetti
          Only]
          05/10/2017 Esparza and Chiang Recorded     Civetti;
  611B
          Call, Excerpt B                              Chiang
          Excerpt B - Transcript [Identification
 611B-T                                               Civetti
          Only]


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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          06/22/2017 CHAN and Chiang Recorded Call         Civetti;
   612
          (GC#760) [Identification Only]                    Chiang
          06/22/2017 CHAN and Chiang Recorded              Civetti;
  612A
          Call, Excerpt A                                   Chiang
          Excerpt A – Transcript [Identification
 612A-T                                                     Civetti
          Only]
          06/22/2017 CHAN and Chiang Recorded              Civetti;
  612B
          Call, Excerpt B                                   Chiang
          Excerpt B – Transcript [Identification
 612B-T                                                     Civetti
          Only]
                                                           Civetti;
          06/23/2017 Kim - Chiang Recorded Call
   613                                                      Chiang;
          (GC#913) [Identification Only]
                                                              Kim
                                                           Civetti;
          06/23/2017 Kim - Chiang Recorded Call,
  613A                                                      Chiang;
          Excerpt A
                                                              Kim
          Excerpt A – Transcript [Identification
 613A-T                                                     Civetti
          Only]
                                                           Civetti;
          06/23/2017 Kim - Chiang Recorded Call,
  613B                                                      Chiang;
          Excerpt B
                                                              Kim
          Excerpt B – Transcript [Identification
 613B-T                                                     Civetti
          Only]
          07/05/2017 Huizar and Chiang Recorded            Civetti;
   614
          Call (JH#6709)[Excerpt]                           Chiang
          Excerpt – Transcript [Identification
 614-T                                                      Civetti
          Only]



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          07/12/2017 CHAN, Chiang Recorded Call
                                                           Civetti;
   615    (GC#2590) [Excerpt] [Re: $2,000 to
                                                            Chiang
          Verej]
          Excerpt – Transcript [Identification
 615-T                                                      Civetti
          Only]
          07/12/2017 Chiang, Lee Recorded Call
                                                           Civetti;
   616    (GC#2592) [Excerpt] [Re: Hold on DOT
                                                            Chiang
          Report]
          Excerpt – Transcript [Identification
 616-T                                                      Civetti
          Only]
          08/24/2017 CHAN and Chiang Recorded Call         Civetti;
   617
          (RC#31) [Excerpt]                                 Chiang
          Excerpt – Transcript [Identification
 617-T                                                      Civetti
          Only]
          08/30/2017 CHAN and Chiang Recorded Call         Civetti;
   618
          (GC#3714) [Identification Only]                   Chiang
          08/30/2017 CHAN and Chiang Recorded
                                                           Civetti;
  618A    Call, Excerpt A [Re: Huizar TFAR
                                                            Chiang
          Allocation for Hazens]
          Excerpt A – Transcript [Identification
 618A-T                                                     Civetti
          Only]
          08/30/2017 CHAN and Chiang Recorded
                                                           Civetti;
  618B    Call, Excerpt B [Re: Huizar Motion Saves
                                                            Chiang
          Hazens $3 Million]
          Excerpt B – Transcript
 618B-T                                                     Civetti
          [Identification Only]
          09/13/2017 Huizar and Chiang Recorded            Civetti;
   619
          Call (GC#4962) re: CPC Hearing [Excerpt]          Chiang


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          Excerpt – Transcript [Identification
  619T                                                      Civetti
          Only]
          09/14/2017 Huizar and Chiang Recorded            Civetti;
   620
          Call (GC#5458) [Identification Only]              Chiang
          09/14/2017 Huizar and Chiang Recorded            Civetti;
  620A
          Call, Excerpt A                                   Chiang
          Excerpt A - Transcript [Identification
 620A-T                                                     Civetti
          Only]
          09/14/2017 Huizar and Chiang Recorded            Civetti;
  620B
          Call, Excerpt B                                   Chiang
          Excerpt B – Transcript [Identification
 620B-T                                                     Civetti
          Only]
          09/14/2017 CHAN and an Associate
   621    Recorded Call (RC#3127) [Identification           Civetti
          Only]
          09/14/2017 CHAN and an Associate                 Civetti;
  621A
          Recorded Call, Excerpt A                          Chiang
          Excerpt A – Transcript [Identification
 621A-T                                                     Civetti
          Only]
          09/14/2017 CHAN and an Associate                 Civetti;
  621B
          Recorded Call, Excerpt B                          Chiang
          Excerpt B – Transcript [Identification
 621B-T                                                     Civetti
          Only]
          09/14/2017 CHAN and Chiang Recorded Call         Civetti;
   622
          (RC#3114) [Identification Only]                   Chiang
          Excerpt A – CHAN & Chiang
                                                           Civetti;
  622A    [Re: “Pick Up the Check,” Gifts, Thank
                                                            Chiang
          You]


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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          Excerpt A – Transcript [Identification
 622A-T                                                     Civetti
          Only]
          Excerpt B – CHAN & Chiang                        Civetti;
  622B
          [Re: “Where the Fuck is the Check”]               Chiang
          Excerpt B – Transcript [Identification
 622B-T                                                     Civetti
          Only]
          09/14/2017 CHAN and Lincoln Lee Recorded
   623                                                      Civetti
          Call (RC#3126) [Identification Only]
          09/14/2017 CHAN and Lincoln Lee Recorded
 623-Z    Call, Excerpt – Translated Transcript             Civetti
          [Re: CHAN Called Mayor’s Office]

[624 – 629 Placeholder]

                                    E. Financial Records
          Hazens Checks to Synergy & Consultants    Civetti;
   630
          (10/19/2015-10/06/2018)                    Chiang
          Synergy Checks to CHAN and Jeremy Chan    Civetti;
   631
          (09/30/2017)                               Chiang
          Synergy Checks to LAXBG and Jeremy Chan   Civetti;
   632
          (10/28/2017, 10/31/2017)                   Chiang
                                                    Civetti;
   633    Synergy Checks to LAXBG (12/27/2017)
                                                     Chiang

[634 – 699 Placeholder]




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                                  4 | Other Pay-to-Play
                                       A. Deron Williams
             1. Records & Correspondence
          08/24/2017 CHAN Calendar Entry re: Deron
   700                                                 Civetti
          Williams Jr Contract
          09/01/2017 Executed Consulting Agreement Civetti;
   701
          between CCC and Deron Williams Jr.            Chiang
          10/20/2017 – 12/15/2017 Emails with
   702                                                 Civetti
          Deron Williams Jr.
          September 2017 – Emails & Reports from
   703                                                 Civetti
          Deron Williams Jr.
          October 2017 – Emails & Reports from
   704                                                 Civetti
          Deron Williams Jr.
          November 2017 – Emails & Reports from
   705                                                 Civetti
          Deron Williams Jr.
          December 2017 – Emails & Reports from
   706                                                 Civetti
          Deron Williams Jr.
             2. Text Messages
          08/08/2017 CHAN, Chiang re: Deron           Civetti;
   707
          Williams Jr Meeting                           Chiang
          09/11/2017 Chiang, Deron Williams re:       Civetti;
   708
          Talking Points                                Chiang
          09/12/2017 Chiang, Deron Williams re:       Civetti;
   709
          CPC & “Talking to Anna”                       Chiang
   710    Intentionally Omitted
             3. Audio Recordings & Translations
          09/04/2017 CHAN and Chiang Recorded Call
                                                      Civetti;
   711    (RC#1507) [Excerpt] [Re: Talking Points
                                                        Chiang
          to Deron & Mayor’s Office]
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          Excerpt – Transcript [Identification
 711-T                                                      Civetti
          Only]
          09/12/2017 Chiang, Deron Williams
   712    Recorded Call (GC#4796) [Excerpt] [Re:            Civetti
          Talk to Ana]
          Excerpt – Transcript [Identification
 712-T                                                      Civetti
          Only]
          09/12/2017 CHAN and Deron Williams
   713    Recorded Call (RC#2412) [Excerpt] [Re:            Civetti
          Huizar’s Office & PLUM]
          Excerpt – Transcript [Identification
 713-T                                                      Civetti
          Only]
             4. Financial Records
          10/18/2017 Check from CCC to Deron
   714                                                      Civetti
          Williams Jr. for $1,000
          Check Receipts from CCC to Deron                 Civetti;
   715
          Williams Jr. (11/21/2017, 12/21/2017)             Chiang
          Photograph of Checks to Deron Williams
   716    Jr. Checks from Synergy/CCC Search                Civetti
          Execution
          09/11/2017 Recorded Call CHAN, Chiang            Civetti;
   717
          re: Talking Points                                Chiang
          Excerpt – Transcript [Identification
 717-T                                                      Civetti
          Only]

[718 – 729 Placeholder]

                                     B. Joel Jacinto & BOE
             1. Records & Correspondence

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          04/25/2018 Email with CHAN, Chiang, and
                                                           Civetti;
   730    others re: BOE action on Luxe Hotel
                                                            Chiang
          Project
          05/10/2018 Email with Chiang, Joel               Civetti;
   731
          Jacinto re: meeting                               Chiang
          10/10/2018 Email with CHAN and others
                                                           Civetti;
   732    re: Joel Jacinto’s 10/11/18 Visit to
                                                            Chiang
          “Our Office”
          Andy Wang Checks and Bank Records re:
                                                           Civetti;
   733    Payments to Ave Jacinto (06/13/2018,
                                                             Wang
          08/13/2018, 09/04/2018, 10/29/2018)

[734 – 739 Placeholder]

             2. Text Messages
          04/24-05/08/2018 Chiang and Joel Jacinto         Civetti;
   740
          re: Meeting Requests                              Chiang

[741 – 749 Placeholder]

             3. Audio Recordings & Translations
          10/05/2017 CHAN and Andy Wang Recorded           Civetti;
   750
          Meeting (1D147) [Identification Only]              Wang
 750A-Z   Intentionally Omitted
          10/05/2017 CHAN and Andy Wang Recorded
                                                           Civetti;
 750B-Z   Meeting, Excerpt B - Translated
                                                             Wang
          Transcript



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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          10/05/2017 CHAN and Andy Wang Recorded
                                                           Civetti;
 750C-Z   Meeting Excerpt C - Translated
                                                             Wang
          Transcript
   751    Intentionally Omitted
          04/03/2018 Chiang, Joel Jacinto Recorded         Civetti;
   752
          Call (GC#6341) [Excerpt]                          Chiang
          Excerpt – Transcript [Identification
 752-T                                                      Civetti
          Only]
   753    Intentionally Omitted
   754    Intentionally Omitted
          04/17/2018 CHAN and Chiang Recorded Call         Civetti;
   755
          (RC#6880) [Identification Only]                   Chiang
          Excerpt A – CHAN & Chiang
                                                           Civetti;
  755A    [Re: Kuk Personal Phone & Hazens DA,
                                                            Chiang
          “Huizar’s Magic”]
          Excerpt A – Transcript [Identification
 755A-T                                                     Civetti
          Only]
          Excerpt B – CHAN, Chiang                         Civetti;
  755B
          [Re: BOE & Jacinto]                               Chiang
          Excerpt B – Transcript [Identification
 755B-T   Only]                                             Civetti

          Excerpt C – CHAN, Chiang
                                                           Civetti;
  755C    [Re: Jacinto “Personally Give Call” &
                                                            Chiang
          Ted Allen]
          Excerpt C – Transcript [Identification
 755C-T                                                     Civetti
          Only]
          Excerpt D – CHAN, Chiang                         Civetti;
  755D
          [Re: DOT]                                         Chiang

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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          Excerpt D – Transcript [Identification
 755D-T                                                     Civetti
          Only]
          04/24/2018 Chiang, Joel Jacinto Recorded         Civetti;
   756
          Call (GC#8006) [Excerpt]                          Chiang
          Excerpt – Transcript [Identification
 756-T                                                      Civetti
          Only]
          05/01/2018 Chiang, Joel Jacinto Recorded         Civetti;
   757
          Call (GC#8838) [Excerpt]                          Chiang
          Excerpt – Transcript [Identification
 757-T                                                      Civetti
          Only]
          05/01/2018 Chiang and Joel Jacinto               Civetti;
   758
          Recorded Call (GC#8847) [Excerpt]                 Chiang
          Excerpt – Transcript [Identification
 758-T                                                      Civetti
          Only]
          05/09/2018 CHAN and Andy Wang Recorded           Civetti;
   759
          Meeting (1D207) [Identification Only]              Wang
          05/09/2018 CHAN and Andy Wang Recorded           Civetti;
 759-Z
          Meeting, Excerpt – Translated Transcript           Wang
          06/07/2018 CHAN and Andy Wang Recorded           Civetti;
   760
          Meeting (1D214) [Identification Only]              Wang
 760A-Z   Intentionally Omitted
          06/07/2018 CHAN and Andy Wang Recorded
                                                           Civetti;
 760B-Z   Meeting, Excerpt B - Translated
                                                             Wang
          Transcript
             4. Photographs & Videos
   761    Photograph of CHAN and Joel Jacinto               Civetti

[762 – 799 Placeholder]

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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
                              C. Shawn Kuk & Arts District Center
             1. Records & Correspondence
          Kevin Chen Families for a Better LA PAC
   800                                                 Civetti
          Contribution
          11/24/2018 Document Drafted by CHAN and
                                                      Civetti;
   801    Provided to Andy Wang re: Shawn Kuk
                                                         Wang
          Arrangement
          06/14/2018 Four Dodgers – Giants Tickets Civetti;
   802
          ($1,932) Purchased by CHAN                    Chiang

[803 – 809 Placeholder]

             2. Text Messages
          03/12/2018 CHAN, Chiang, Kevin Chen re:          Civetti;
   810
          ADC Renderings for Shawn Kuk                      Chiang
          03/25/2018 CHAN, Chiang re: Radar Screen         Civetti;
   811
          Actions                                           Chiang
          04/20/2018 CHAN and Chiang re: Hazens            Civetti;
   812
          PAC, ADC, Rios Campaign                           Chiang
          04/23/2018 CHAN and Chiang re: Hazens            Civetti;
   813
          PAC and ADC                                       Chiang
          05/14/2018 CHAN, Chiang, Kevin Chen re:          Civetti;
   814
          Meeting Huizar                                    Chiang
          05/23/2018 CHAN, Chiang, Kevin Chen re:          Civetti;
   815
          CD14 and DCP Meeting                              Chiang
          05/31/2018 CHAN, Chiang, Kevin Chen re:          Civetti;
   816
          Adding 3 Stories                                  Chiang
          06/14/2018 CHAN, Chiang re: Shawn Kuk            Civetti;
   817
          Needs Assistance                                  Chiang
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          08/07/2018 CHAN, Chiang re: Shawn Kuk            Civetti;
   818
          Meeting Brief                                      Chiang
          08/16/2018 CHAN, Chiang, Kevin Chen re:          Civetti;
   819
          EIR to Shawn Kuk                                   Chiang
                                                           Civetti;
          09/02/2018 CHAN, Chiang, Shawn Kuk re:
   820                                                      Chiang;
          Meeting
                                                               Kuk
          09/06/2018 CHAN, Chiang, Kevin Chen re:          Civetti;
   821
          Speak to Shawn Kuk                                 Chiang
          09/11/2018 CHAN, Chiang, Kevin Chen re:          Civetti;
   822
          Shawn Kuk Meeting                                  Chiang
          09/11/2018 CHAN, Chiang, Shawn Kuk re:           Civetti;
   823
          ADC Project                                        Chiang
          09/14/2018 CHAN and Shawn Kuk re: ADC            Civetti;
   824
          EIR                                                  Kuk
          09/20/2018 CHAN and Shawn Kuk re: Andy           Civetti;
   825
          Wang Dinner                                          Kuk
          10/03/2018 CHAN and Shawn Kuk re: Andy           Civetti;
   826
          Wang Dinner                                          Kuk
                                                           Civetti;
          10/05/2018 CHAN, Chiang, and Shawn Kuk
   827                                                      Chiang;
          re: re: ADC
                                                               Kuk
          10/08/2018 CHAN and Shawn Kuk re: Andy           Civetti;
   828
          Wang Dinner                                          Kuk
                                                           Civetti;
          10/09/2018 CHAN, Chiang, Shawn Kuk re:
   829                                                      Chiang;
          ADC
                                                               Kuk
          10/09/2018 CHAN and Shawn Kuk re: Not to         Civetti;
   830
          Meet DTLA                                            Kuk

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                                                           Civetti;
          10/09/2018 CHAN, Shawn Kuk, Andy Wang
   831                                                        Kuk;
          re: Daniel Taban Dinner
                                                              Wang
                                                           Civetti;
          10/11/2018 CHAN, Shawn Kuk, Andy Wang
   832                                                        Kuk;
          re: Daniel Taban Dinner
                                                              Wang
                                                           Civetti;
          10/23/2018 CHAN, Shawn Kuk, Andy Wang
   833                                                        Kuk;
          re: BOA Dinner
                                                              Wang
                                                           Civetti;
   834    06/14/2018 CHAN, Shawn Kuk
                                                               Kuk
                                                           Civetti;
   835    06/22/2018 CHAN, Shawn Kuk
                                                               Kuk
                                                           Civetti;
   836    08/06/2018 CHAN, Chiang, Shawn Kuk                Chiang;
                                                               Kuk
                                                           Civetti;
   837    10/29/2018 Email CHAN, Shawn Kuk re: MOU
                                                               Kuk
   838    Intentionally Omitted

[839 – 839 Placeholder]

             3. Audio Recordings & Translations
          06/14/2018 CHAN and Andy Wang Recorded           Civetti;
   840
          Meeting (1D216) [Identification Only]              Wang
          06/14/2018 CHAN and Andy Wang Recorded
                                                           Civetti;
 840A-Z   Meeting, Excerpt A - Translated
                                                             Wang
          Transcript


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          06/14/2018 CHAN, Andy Wang, Ave Jacinto
                                                           Civetti;
  840B    Recorded Meeting, Excerpt B – [Re:
                                                             Wang
          Huizar and Kuk’s Power]
          Excerpt B – Transcript [Identification           Civetti;
 840B-T
          Only]                                               Wang
          06/15/2018 CHAN, Andy Wang, Shawn Kuk            Civetti;
   841    Recorded Meeting (1D217) [Identification           Wang;
          Only]                                                Kuk
 841A-Z   Intentionally Omitted
 841B-Z   Intentionally Omitted
          06/15/2018 CHAN, Andy Wang, Shawn Kuk
 841C-Z   Recorded Meeting, Excerpt C – Translated          Civetti
          Transcript
          08/23/2018 CHAN and Andy Wang Recorded           Civetti;
   842
          Meeting (1D243) [Identification Only]              Wang
          08/23/2018 CHAN and Andy Wang Recorded           Civetti;
 842-Z
          Meeting, Excerpt – Translated Transcript           Wang
          09/06/2018 CHAN and Andy Wang Recorded           Civetti;
   843
          Meeting (1D249) [Identification Only]              Wang
          09/06/2018 CHAN and Andy Wang Recorded           Civetti;
 843-Z
          Meeting, Excerpt - Translated Transcript           Wang
          09/28/2018 CHAN and Andy Wang Recorded           Civetti;
   844
          Call (1D266) [Identification Only]                 Wang
          09/28/2018 CHAN and Andy Wang Recorded           Civetti;
 844-Z
          Call, Excerpt - Translated Transcript              Wang
          09/28/2018 CHAN, Andy Wang, Shawn Kuk
                                                           Civetti;
   845    Recorded Meeting (1D267) [Identification
                                                             Wang
          Only]

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          09/28/2018 CHAN, Andy Wang, Shawn Kuk
                                                           Civetti;
 845A-Z   Recorded Meeting, Excerpt A - Translated
                                                             Wang
          Transcript
                                                           Civetti;
          09/28/2018 CHAN, Andy Wang, Shawn Kuk
  845B                                                       Wang;
          Recorded Meeting, Excerpt B [Re: Trust]
                                                              Kuk
                                                           Civetti;
          Excerpt B – Transcript [Identification
 845B-T                                                      Wang;
          Only]
                                                              Kuk
                                                           Civetti;
          09/28/2018 CHAN, Andy Wang, Shawn Kuk
  845C                                                       Wang;
          Recorded Meeting, Excerpt C
                                                              Kuk
          Excerpt C – Transcript [Identification
 845C-T                                                     Civetti
          Only]
          09/28/2018 CHAN, Andy Wang, Shawn Kuk            Civetti;
  845D
          Recorded Meeting, Excerpt D                        Wang
          Excerpt D – Transcript [Identification
 845D-T                                                     Civetti
          Only]
          10/08/2018 CHAN and Andy Wang Recorded           Civetti;
   846
          Meeting (1D271) [Identification Only]               Wang
          10/08/2018 CHAN and Andy Wang Recorded           Civetti;
 846-Z
          Meeting, Excerpt - Translated Transcript            Wang
          10/25/2018 CHAN, Andy Wang, Shawn Kuk            Civetti;
   847    Recorded Call & Meeting (1D277)                    Wang;
          [Identification Only]                                Kuk
                                                           Civetti;
          10/25/2018 CHAN, Andy Wang, Shawn Kuk
  847A                                                       Wang;
          Recorded Call & Meeting, Excerpt A
                                                               Kuk


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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          Excerpt A – Transcript [Identification
 847A-T                                                     Civetti
          Only]
                                                           Civetti;
          10/25/2018 CHAN, Andy Wang, Shawn Kuk
  847B                                                       Wang;
          Recorded Call & Meeting, Excerpt B
                                                              Kuk
          Excerpt B – Transcript [Identification
 847B-T                                                     Civetti
          Only]
                                                           Civetti;
          10/25/2018 CHAN, Andy Wang, Shawn Kuk
  847C                                                       Wang;
          Recorded Call & Meeting, Excerpt C
                                                              Kuk
          Excerpt C – Transcript [Identification
 847C-T                                                     Civetti
          Only]
          11/24/2018 CHAN and Andy Wang Recorded           Civetti;
   848
          Meeting (1D302) [Identification Only]              Wang
          11/24/2018 CHAN and Andy Wang Recorded
                                                           Civetti;
 848A-Z   Meeting, Excerpt A - Translated
                                                             Wang
          Transcript
 848B-Z   Intentionally Omitted
 848C-Z   Intentionally Omitted
 848D-Z   Intentionally Omitted
 848E-Z   Intentionally Omitted
 848F-Z   Intentionally Omitted
          08/08/2018 Recorded Conference Room
                                                           Civetti;
   849    CHAN, Chiang re: ADC & “Take care of
                                                            Chiang
          Shawn”
 849-T    Transcript [Identification Only]                 Civetti
          08/27/2027 Recorded Call CHAN, Chiang            Civetti;
   850
          re: ADC & “Take care of mom and son”              Chiang
 850-T    Transcript [Identification Only]                 Civetti

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[851 – 859 Placeholder]

             4. Photographs & Videos
          06/14/2018 Photograph of CHAN and                Civetti;
   860
          Whiteboard                                         Wang
          10/05/02018 Photographs of Blank Check
                                                           Civetti;
   861    and Envelope of Cash re: Shawn Kuk
                                                             Wang
          $10,000

[862 – 899 Placeholder]

                                    5 | SUMMARY CHARTS
                                   A. CD-14 Enterprise
   900    Relevant Parties [Demonstrative Only]     Civetti
          Relevant Parties (Blow Up)
  900A                                               Civetti
          [Demonstrative Only]
          Key Players and Projects [Demonstrative
   901                                               Civetti
          Only]
          Key Players and Projects (Blow Up)
  901A                                               Civetti
          [Demonstrative Only]
   902    LADBS Org. Chart                          Civetti
   903    Mayoral Org. Chart                        Civetti
                                                    Civetti;
                                                       Kuk;
   904    City Approval Process – General
                                                     Keller;
                                                      Ambroz
                                                    Civetti;
  904A    City Approval Process – Appeals
                                                        Kuk
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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
          All Benefits CHAN Solicited and
   905    Facilitated for Third Parties                     Civetti
          [Demonstrative Only]
                                                                                                      MIL No. 2-
                                                                      611(a);         611(a),         DENIED;
          Huizar All Benefits Solicited or
   906                                                      Civetti   1006; MIL       1006; Opp’n     661(a), 1006
          Received [Demonstrative Only]
                                                                      No. 2           MIL No. 2       Objections –
                                                                                                      SUSTAINED
   907    Toll Records Charts                               Civetti
          CHAN Top 20 Contacts (Aug. 2013 – June
  907A                                                      Civetti
          2017)
  907B    CHAN & Huizar (2013 – 2014)                      Civetti
          CHAN & CPC President David Ambroz                Civetti;
  907C
          Summary Chart re: Toll Records                    Ambroz
          CHAN & CPC President David Ambroz – Toll         Civetti;
  907D
          Records                                           Ambroz
                                                                                                      MIL No. 2-
                                                                      611(a);         611(a),         DENIED;
                                                           Civetti;
   908    Carmel 2018 Timeline                                        1006; MIL       1006; Opp’n     661(a), 1006
                                                            Goldman
                                                                      No. 2           MIL No. 2       Objections –
                                                                                                      OVERRULED
                                                                                                      661(a), 1006
                                                                      611(a);
   909    Huizar Family Money Flow Table                    Civetti                   611(a), 1006    Objections –
                                                                      1006
                                                                                                      OVERRULED
                                                                      611(a);                         661(a), 1006
          Huizar Money Flow Timeline (Jan. 2014 –          Civetti;
   910                                                                1006            611(a), 1006    Objections –
          Nov. 2017)                                         Wang
                                                                                                      OVERRULED
          Detailed Benefits Provided to Huizar             Civetti;
   911
          from Wang [Demonstrative Only]                     Wang

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          Total Benefits Provided to Huizar from           Civetti;
   912
          Wang [Demonstrative Only]                          Wang

[913 – 920 Placeholder]

                     B. SHEN ZHEN NEW WORLD (LA Grand Hotel Project)
                                                              611(a);                                 MIL No. 1 –
                                                              1006; MIL               611(a),         DENIED;
          SZNW Casino Trips – Group Expense and     Civetti;
   921                                                        No. 1                   1006; Opp’n     661(a), 1006
          Chips                                      Esparza
                                                                                      MIL No. 1       Objections –
                                                                                                      OVERRULED
                                                                      611(a);                         MIL No. 1 –
                                                                      1006; MIL       611(a),         DENIED;
                                                           Civetti;
   922    SZNW Casino Trips – Group Only                              No. 1           1006; Opp’n     661(a), 1006
                                                            Esparza
                                                                                      MIL No. 1       Objections –
                                                                                                      OVERRULED
                                                                      611(a);         611(a),         MIL No. 1 –
          SZNW Cosmopolitan Example                                   1006; MIL       1006; Opp’n     DENIED;
                                                           Civetti;
   923                                                                No. 1           MIL No. 1       661(a), 1006
                                                            Esparza
                                                                                                      Objections –
                                                                                                      OVERRULED
                                                                      611(a);         611(a),         MIL No. 1 –
                                                                      1006; MIL       1006; Opp’n     DENIED;
                                                           Civetti;
   924    SZNW 2013 – 2014 Timeline                                   No. 1           MIL No. 1       661(a), 1006
                                                            Esparza
                                                                                                      Objections –
                                                                                                      OVERRULED
                                                                      611(a);         611(a), 1006    661(a), 1006
                                                           Civetti;
   925    SZNW 2016 Timeline                                          1006                            Objections –
                                                            Esparza
                                                                                                      OVERRULED

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   No.                Category/Description                  Witness     Def. Obj.      Gov’t Resp.    Court Ruling
                                                                      611(a);         611(a), 1006    661(a), 1006
                                                           Civetti;
   926    SZNW 2018 Timeline                                          1006                            Objections –
                                                            Esparza
                                                                                                      OVERRULED
                                                                      611(a);                         661(a), 1006
   927    Godoy Settlement Money Flow                       Civetti   1006            611(a), 1006    Objections –
                                                                                                      OVERRULED

[928 – 929 Placeholder]

                                 C. Hazens (Luxe Hotel Project)
                                                                      611(a);         611(a), 1006    661(a), 1006
                                                           Civetti;
   930    Hazens 2014 – 2017 Timeline                                 1006                            Objections –
                                                            Chiang
                                                                                                      OVERRULED
                                                                      611(a);         611(a), 1006    661(a), 1006
                                                           Civetti;
   931    Hazens 2017 – 2018 Timeline                                 1006                            Objections –
                                                            Chiang
                                                                                                      OVERRULED
          Hazens Business Development                      Civetti;
   932
          [Demonstrative Only]                              Chiang
                                                                      611(a);         611(a), 1006    661(a), 1006
                                                           Civetti;
  932A    Hazens Timeline – 2016                                      1006                            Objections –
                                                            Chiang
                                                                                                      OVERRULED
                                                           Civetti;
   933    Hazens Checks to Synergy Chart
                                                            Chiang

[934 – 939 Placeholder]




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                                       D. Other Pay-to-Play
                                                                      611(a);         611(a), 1006    661(a), 1006
                                                           Civetti;
   940    Jacinto Timeline                                            1006                            Objections –
                                                            Chiang
                                                                                                      OVERRULED
                                                                      611(a);         611(a), 1006    661(a), 1006
          Jacinto Timeline – Chiang only                   Civetti;
  940A                                                                1006                            Objections –
          [Demonstrative Only]                              Chiang
                                                                                                      SUSTAINED
                                                                      611(a);         611(a), 1006    661(a), 1006
          Jacinto Timeline – Wang only                     Civetti;
  940B                                                                1006                            Objections –
          [Demonstrative Only]                               Wang
                                                                                                      SUSTAINED
          Benefits CHAN Facilitated for LA Public
   941    Works Commissioner’s Spouse                       Civetti
          [Demonstrative Only]
                                                                      611(a);         611(a), 1006    661(a), 1006
          2018 Arts District Center & Kuk Payment
   942                                                      Civetti   1006                            Objections –
          Timeline
                                                                                                      OVERRULED
                                                                      611(a);         611(a), 1006    661(a), 1006
          CHAN, Kuk Timeline                               Civetti;
  942A                                                                1006                            Objections –
          [Demonstrative Only]                                Kuk
                                                                                                      SUSTAINED
                                                                      611(a);         611(a), 1006    661(a), 1006
          CHAN, Wang Timeline                              Civetti;
  942B                                                                1006                            Objections –
          [Demonstrative Only]                               Wang
                                                                                                      SUSTAINED
                                                                      611(a);                         661(a), 1006
   943    FBI Overt Timeline                                Civetti   1006            611(a), 1006    Objections –
                                                                                                      OVERRULED

[End]



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